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                                   Nos. 23-2309, 23-2467

                     UNITED STATES COURT OF APPEALS
                        FOR THE SEVENTH CIRCUIT

    BAD RIVER BAND OF THE LAKE SUPERIOR TRIBE OF CHIPPEWA INDIANS OF THE
                            BAD RIVER RESERVATION,
                     Plaintiff-Appellee, Cross-Appellant,
                                      v.
         ENBRIDGE ENERGY COMPANY, INC., AND ENBRIDGE ENERGY, L.P.,
                  Defendants-Appellants, Cross-Appellees.

         ENBRIDGE ENERGY COMPANY, INC., AND ENBRIDGE ENERGY, L.P.,
               Counter-Plaintiffs, Appellants/Cross-Appellees,
                                      v.
    BAD RIVER BAND OF THE LAKE SUPERIOR TRIBE OF CHIPPEWA INDIANS OF THE
                BAD RIVER RESERVATION, and NAOMI TILLISON,
              Counter-Defendants, Appellees/Cross-Appellants.

Appeal from the U.S. District Court for the Western District of Wisconsin,
           No. 3:19-cv-602-wmc, Judge William M. Conley

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                   REQUEST FOR ORAL ARGUMENT

      Appellee-Cross-Appellant, the Bad River Band of the Lake Superior

Tribe of Chippewa Indians of the Bad River Reservation (the “Band”),

respectfully requests oral argument in this case, which raises important

issues of first impression in this Circuit. Oral argument may assist the

panel in addressing the questions.




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                                  GLOSSARY

Short Form               Description
1854 Treaty              Treaty with the Chippewa, 10 Stat. 1109 (Sept. 30,
                         1854)
1948 Right-of-Way        25 U.S.C. §323
Act
1992 Agreement           Agreement between Enbridge and the Band, found at
                         BA19 of the Band’s Appendix
Allotted Parcels         15 parcels of land originally allotted by the United
                         States to individual Indians
BA                       The Band’s Appendix under Circuit Rule 30(b)
Bureau                   Bureau of Indian Affairs
cfs                      cubic feet per second
ILCA                     Indian Land Consolidation Act of 1983,
                          25 U.S.C. §§2201 et seq.
Non-Intercourse Act      25 U.S.C. §177
PHMSA                    United States Pipeline and Hazardous Materials
                         Safety Administration
Reservation              Bad River Reservation
Secretary                U.S. Secretary of the Interior
Third Restatement        Restatement (Third) of Restitution (2011)
Transit Treaty           Agreement Between the Government of the United
                         States and the Government of Canada Concerning
                         Transit Pipelines, 28 U.S.T. 7449, 1977 WL 181731 (Jan.
                         28, 1977)
Tribal Parcels           13 parcels of land owned in full by the Band




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                             INTRODUCTION

   This case concerns a blatant trespass and public nuisance that threaten

catastrophe for the Bad River Band, the river and watershed from which

the tribe takes its name, and Lake Superior. Every day, Enbridge pumps

approximately 24 million gallons of crude oil and natural gas liquids

through the 70-year-old Line 5 pipeline that traverses the Bad River

Reservation. In 2010, another Enbridge pipeline of similar vintage ruptured

in Michigan, spilling over a million gallons of oil into the Kalamazoo River,

resulting in the costliest inland spill in American history. Three years after

that disaster, easements allowing Enbridge to operate Line 5 across various

Reservation parcels expired; when Enbridge failed to address the Band’s

concerns about its history of pipeline ruptures and environmental damage,

the Band declined to renew those easements. The Band then enacted a

formal resolution demanding that Enbridge honor its obligation to shut

down and remove the pipeline—but Enbridge refused. Despite a

sovereign’s decree and a federal lawsuit, Enbridge carries on business as

usual on the Reservation even to this day.



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   Enbridge knows it is trespassing. The easements expired in 2013 and

specifically required it to remove the pipeline within six months after

expiration. Enbridge insists that a different easement across different

parcels now extends to the trespassed-upon parcels, but that easement is

expressly limited to parcels not at issue here. What is more, a host of

federal statutes, including the foundational Non-Intercourse Act and those

governing rights-of-way on reservations, unambiguously require federal

approval of any easement over tribal lands—but the government has

provided no such approval here.

   Yet Enbridge continues its trespass. The explanation is simple:

trespassing is profitable. As the district court found, Enbridge netted more

than $1.1 billion in profits from the pipeline since its trespass began (even

before considering the time value of money), and has reaped an almost-

$300-million windfall in cost savings simply by staying put.

   The proper remedies for this ongoing and obvious trespass should have

been straightforward: an order permanently enjoining Enbridge from

further trespass and disgorging Enbridge’s profits. That is the only way to



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vindicate the Band’s sovereignty, force Enbridge to find a lawful way to

operate its pipeline, and deter future wrongdoing. Yet instead of ordering

Enbridge to leave tribal land immediately (or at least within the six months

contemplated by the easements), the court greenlighted another three years

of trespass. And rather than requiring Enbridge to disgorge the profits its

trespass enabled, the court imposed only a modest toll: just $5.1 million of

Enbridge’s $1.1-billion profit. The orders here effectively grant Enbridge a

three-year forced easement at bargain rates over the sovereign’s ongoing

objection and in violation of federal law.

   That would be bad enough even if the consequences of Enbridge’s

continued operation of the pipeline on the Reservation were not so severe.

What was once a 310-foot separation between the ever-migrating Bad River

and the pipeline is now 11 feet—equivalent to what was lost in a single week

last spring. Another, similar spring will bring exposure of the pipeline and

loss of the soil underneath. When that happens, the pipeline will rupture,

devastating the Bad River, the internationally recognized wild rice sloughs

that lie at its mouth, and Lake Superior beyond.



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   Based on this imminent threat of environmental devastation, the district

court found Enbridge liable for public nuisance, and the company does not

challenge that holding on the merits. It instead argues displacement based

on the Pipeline Safety Act. But the PSA’s text is clear: The statute neither

affects the ability to bring tort actions nor extends to the locational issues at

the heart of this suit.

   The district court correctly rejected Enbridge’s atextual argument. But it

again fell short on remedy, allowing Enbridge to continue operating the

pipeline up to the very brink, with no margin for error in executing a purge

and shutdown of the pipeline before disaster strikes. One need not be

overly familiar with the Kalamazoo River catastrophe, or others like it, to

predict how that will end.

   The district court hesitated to enforce the Band’s rights promptly based

on claims made by Enbridge and amici about the impact of shutting down

the pipeline. But overheated assertions about convenience and consequence

are a staple of litigation to enforce tribal rights. “The sky will fall,” the story

goes, without regard to what happens when the law is not followed. The



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sky rarely falls, however, and it will not here. Enbridge’s own expert

testified that shutting down Line 5 will lead to a one-cent increase per

gallon of gasoline in Michigan and Wisconsin and a nickel in Ontario. More

fundamentally, Congress has spoken: The public interest is served by

respecting, rather than relegating, tribal land rights. The Non-Intercourse

Act and the rights-of-way statutes prohibit courts from forcing easements

over tribal lands, whether in “law or equity.” No federal appellate court

has ever held otherwise, and this Court should reject Enbridge’s invitation

to be the first.

   The Band deserved meaningful restitution and a real injunction, not

three more years of trespass in the face of grave danger. Respecting tribal

sovereignty can sometimes be inconvenient—and our Nation’s history is

littered with examples where promises yielded to expediency. But the Non-

Intercourse Act and the rights-of-way statutes reflect Congress’ considered

view that respecting sovereignty in the face of expediency is in the public

interest, even when it costs us a few pennies at the pump.




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   The district court got things half-right. The Court should affirm the

decision holding Enbridge liable for willful trespass, unjust enrichment,

and public nuisance. But it should (1) vacate the district court’s trespass

remedy and remand with instructions to order Enbridge to disgorge the

full extent of its profits and stop trespassing immediately, and (2) vacate

the district court’s nuisance remedy and remand with instructions to enter

relief that actually abates the nuisance.

                      JURISDICTIONAL STATEMENT

   The district court had jurisdiction over the Band’s federal-common-law

claims under 28 U.S.C. §§1331 and 1362., It had jurisdiction over Counts I-

III of Enbridge’s counterclaims under 28 U.S.C. §1331, but lacked

jurisdiction over Counts IV-V. The court entered final judgment on June 29,

2023, which disposed of all parties’ claims. A128-29. Enbridge appealed the

next day, R.690; the Band cross-appealed on July 28, R695. This Court has

jurisdiction under 28 U.S.C. §1291.

                       STATEMENT OF THE ISSUES

   1. Whether the district court correctly held that Enbridge trespassed on

the Band’s land and was unjustly enriched by that trespass.

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     2. Whether the district court correctly calculated restitution as a fraction

of Enbridge’s profits and savings from its conscious trespass.

     3. Whether the district court should have immediately enjoined

Enbridge from further trespass.

     4. Whether the district court correctly held that Enbridge’s operation of

its pipeline across the Reservation constitutes a public nuisance.

     5. Whether the district court should have entered an order abating the

nuisance.

                          STATEMENT OF THE CASE

I.      Legal and Historical Background

        A.    The Non-Intercourse Act and Federal Rights-of-Way Statutes

     1. The Non-Intercourse Act, 25 U.S.C. §177, is “perhaps the most

significant congressional enactment regarding Indian lands.” United States

ex rel. Santa Ana Indian Pueblo v. Univ. of N.M., 731 F.2d 703, 706 (10th Cir.

1984). “The goal of the statute is to ensure that tribal lands remain in tribal

hands,” Chemehuevi Indian Tribe v. Jewell, 767 F.3d 900, 904 (9th Cir. 2014),

and “prevent the steady eating away at the Indian Country by individuals

who privately acquired lands from the Indians,” Francis Paul Prucha,


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American Indian Policy in the Formative Years: The Indian Trade and Intercourse

Acts 1790-1834, at 45 (1962). The Act not only “guarantees the Indian tribes’

right of possession,” but “imposes on the federal government a fiduciary

duty to protect the lands covered by the Act.” Santa Ana, 731 F.2d at 706.

   The Act accordingly nullifies any “purchase, grant, lease, or other

conveyance” of tribal land not “made by treaty or convention entered into

pursuant to the Constitution,” 25 U.S.C. §177, and requires “the assent of

the Indian nation or tribe” to any such conveyance, Fed. Power Comm’n v.

Tuscarora Indian Nation, 362 U.S. 99, 119 (1960). Courts have applied it well

beyond purported fee conveyances, including to oil-and-gas leases

approved by the Bureau contrary to federal statutory requirements, see

Shoshone Indian Tribe of Wind River Reservation v. United States, 672 F.3d

1021, 1037 (Fed. Cir. 2012), and, of particular relevance here, to rights-of-

way over Indian land not authorized by treaty or statute, see, e.g., United

States v. S. Pac. Transp. Co., 543 F.2d 676, 684 (9th Cir. 1976).

   2. Two relevant statutes allow the federal government to grant rights-of-

way for pipelines over Indian land. Under the 1948 Right-of-Way Act, the



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Secretary may “grant rights-of-way for all purposes, subject to such

conditions as he may prescribe, over and across any lands now or hereafter

held in trust by the United States for individual Indians or Indian tribes …

or any lands now or hereafter owned, subject to restrictions against

alienation, by individual Indians or Indian tribes.” 25 U.S.C. §323. Under 25

U.S.C. §321, the Secretary may “grant a right-of-way in the nature of an

easement for the construction, operation, and maintenance of pipe lines for

the conveyance of oil and gas through any Indian reservation” for a term of

twenty years. Both provisions come with important limits. Under neither

statute may the Secretary authorize a right-of-way “across any lands”

owned or co-owned by tribes “without the consent of the proper tribal

officials.” Id. §324.

   The Secretary has delegated her authority to grant rights-of-way to the

Bureau. Bureau regulations specify that, “[f]or a right-of-way across tribal

land, the applicant must obtain tribal consent, in the form of a tribal

authorization and a written agreement with the tribe.” 25 C.F.R.

§169.107(a). The regulations define “tribal land” as any tract “owned by



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one or more tribes in trust or restricted status,” id. §169.2, and make clear

that “[i]f the tribe owns any interest in a tract, it is considered ‘tribal land’

and the tribe’s consent for rights-of-way on the tract is required under 25

U.S.C. 323 and 324,” 80 Fed. Reg. 72,492, 72,497 (Nov. 19, 2015) (emphasis

added).1

      B.    The Bad River Reservation

    1. Ojibwe (or Chippewa) tribes have occupied the Great Lakes region for

centuries. After settlers moved into the area in the 1800s, the federal

government “sought control of valuable Ojibwe lands on the shores of Lake

Superior.” Lac Courte Oreilles Band of Lake Superior Chippewa Indians of Wis.

v. Evers, 46 F.4th 552, 559 (7th Cir. 2022). To that end, the United States

negotiated treaties with the Band and other Ojibwe tribes in 1837 and 1842.

While the Ojibwe understood that they were simply selling timber and

mining rights, “the treaties they signed actually transferred title to their

lands outright.” Id. Still, the treaties preserved their right to hunt, fish, and




1The requirement of tribal consent applied in 2013 as it does today. See 25
C.F.R. §§169.3(a) & 169.19 (renewals) (2013).


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gather in the ceded territory. See Treaty with the Chippewa, arts. 1, 5, July

29, 1837, 7 Stat. 536; Treaty with the Chippewa, arts. 1, 2, Oct. 4, 1842, 7 Stat.

591.

   President Taylor attempted to revoke even those rights in 1850, ordering

officials to remove the Ojibwe west to unceded lands in Minnesota. See

Minnesota v. Mille Lacs Band of Chippewa Indians, 526 U.S. 172, 179 (1999).

That plan, however, “ended in disaster.” Id. at 180. Hundreds of Ojibwe

died during what came to be known as the Wisconsin Death March. That

harrowing experience “intensified opposition to the removal order among

the Chippewa as well as among non-Indian residents of the area.” Mille

Lacs Band, 526 U.S. at 180. As a result of that opposition, the United States

“abandoned its removal policy.” Id. at 183.

   It “did not,” however, “abandon its attempts to acquire more Chippewa

land.” Id. The United States negotiated a new treaty with the Ojibwe in

1854. See id. at 183-84 (discussing 1854 Treaty). This time, the Ojibwe

demanded the government set aside lands for them as permanent

reservations. Lac Courte Oreilles Band, 46 F.4th at 559-60. In exchange for



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additional cessions, the United States “set apart and withh[e]ld from sale”

several reservations, including the Bad River Reservation, which spans

roughly 125,000 acres abutting the south shore of Lake Superior in

Wisconsin and about 2,000 acres on Madeline Island. See Treaty with the

Chippewa, art. 2, Sept. 30, 1854, 10 Stat. 1109.

   2. Over time, ownership of land on the Bad River Reservation became

fragmented. Beginning in the mid-nineteenth century, Washington

“changed its policy of setting aside reservation lands exclusively for Indian

tribes under federal supervision,” Cass Cnty. v. Leech Lake Band of Chippewa

Indians, 524 U.S. 103, 106 (1998), and undertook to break reservations apart

into individual allotments. Its objectives “were simple and clear cut: to

extinguish tribal sovereignty, erase reservation boundaries, and force the

assimilation of Indians into society at large.” Lac Courte Oreilles Band, 46

F.4th at 560 (quoting Cnty. of Yakima v. Confed. Tribes and Bands of Yakima

Indian Nation, 502 U.S. 251, 254 (1992)).

   Allotment “quickly proved disastrous for the Indians,” including the

Band, resulting in “a dramatic decline in the amount of land in Indian



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hands” and fractionation that “proliferated with each succeeding

generation as multiple heirs took undivided interests in allotments.” Babbitt

v. Youpee, 519 U.S. 234, 237-38 (1997). Congress ended the allotment policy

in 1934. Yakima, 502 U.S. at 253-56. In the intervening 90 years, Congress has

enacted several important statutes to remediate allotment’s deleterious

effects, including the Indian Land Consolidation Act of 1983, 25 U.S.C.

§§2201 et seq., which authorized the Secretary to acquire fractional interests

in allotted parcels and place them in trust for the affected tribes. Youpee, 519

U.S. at 236-37. But Congress’ efforts did not undo the past; its “vacillation

on Indian land policy left ‘a checkerboard of tribal, individual Indian, and

individual non-Indian land interests’ across Indian country.” Davilla v.

Enable Midstream Partners L.P., 913 F.3d 959, 964 (10th Cir. 2019) (quoting

Pub. Serv. Co. of N.M. v. Barboan, 857 F.3d 1101, 1105 (10th Cir. 2017)).

   The Bad River Reservation is a prime example. The United States holds

parcels in trust for the Band, for individual tribal members, and in some

cases for a combination of both. Other parcels are held in fee by the Band or




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its members, or by non-Indians pursuant to patents issued during

allotment.

      Fractionation notwithstanding, the Band has fought to protect the

special character of the Reservation. R600 at 8-19; R607 at 9-13; Trial.Ex.8.

As a result of those tireless efforts, the Reservation continues to harbor

exceptionally high-quality natural resources, including innumerable

species of wildlife and plants and natural wild rice sloughs so important

and rare as to have been designated Wetlands of International Importance

under the Ramsar Convention. R268 at 9-14; R268-2 at 140.

II.     Factual Background

        A.    Enbridge Obtains an Easement to Operate a Pipeline Through
              the Reservation.

      Enbridge owns and operates oil-and-gas pipelines throughout Canada

and the United States. During the Termination era of the 1950s, when the

federal government allowed tribes little say in running their own affairs,

Enbridge’s corporate predecessor negotiated with the Bureau for an

easement to install and operate a pipeline across roughly twelve miles of

Reservation land.



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   The designated pipeline corridor included Indian land parcels that the

United States administered for the Band or held in trust for individual

Band members, and parcels held by non-Indians in fee simple. The Bureau

granted Enbridge a 20-year easement to operate its pipeline across the

Indian land. That easement expired in 1973, and the Bureau renewed it for

another 20-year term.

   With the second easement set to expire in June 1993, Enbridge, the Band,

and the Bureau discussed renewal. By that time, the pipeline corridor

included thirteen parcels owned in full by the Band (“Tribal Parcels”), and

fifteen parcels allotted to individual Indians (“Allotted Parcels”). The

United States held both sets of parcels in trust. In June 1992, Enbridge

submitted to the Bureau two separate applications for easements. One

concerned a right-of-way over “Tribal Lands,” BA16; it specifically listed

the thirteen Tribal Parcels, BA17. The other sought a right-of-way over the

fifteen Allotted Parcels; it specifically listed those fifteen parcels, BA12,

including the names of the fifteen original allottees, BA16.




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   Tribal Parcels. Because the Band owned the thirteen Tribal Parcels,

Enbridge needed the Band’s consent for an easement over them. See 25

U.S.C. §324. In December 1992, the Band’s Tribal Council enacted a

resolution stating its consent to a 50-year easement “over and across any

lands in which the Tribe has a legal interest within the Company’s existing

rights of way”—i.e., the thirteen Tribal Parcels—in exchange for $800,000.

BA18.

   The parties memorialized their agreement in a written contract (“1992

Agreement”). The 1992 Agreement explicitly distinguished the Tribal

Parcels and the Allotted Parcels. It noted that, in 1953, the Company

acquired “Original Rights of Way” “over and across lands within and/or

about the Bad River Reservation in Wisconsin, … including lands in which

the Tribe had a legal interest and including lands generally known as

allotted lands …, for a period of twenty (20) years.” BA19 (emphasis

added). It thus specified that the “Original Rights of Way” included not

only the thirteen Tribal Parcels, but also the fifteen Allotted Parcels. BA19.




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   The 1992 Agreement then specified that both “[1] that portion of the

Original Rights of Way in which the Tribe now has a legal interest and [2] any

other land through which such pipeline was constructed which is subject to

rights of way of the Company in which the Tribe now has a legal interest are

hereinafter collectively referred to as the ‘Existing Rights of Way.’” BA19.

The Band further agreed that the “Secretary may grant to [Enbridge] a right

of way for the construction, operation and maintenance of a pipeline for

fifty (50) years within the Existing Right of Way,” and that “[s]aid pipeline

right of way shall be granted pursuant to and in accordance with the Tribal

Council’s Resolution Granting Pipeline Right of Way.” BA20.

   The Band submitted the tribal resolution and the Agreement to the

Bureau for approval. SA25. The Bureau verified that “[t]he documentation

consists of a resolution and Agreement between the [Band] and

[Enbridge]” that pertained to “the proposed Grant of Easement for Right-

of-way to [Enbridge] over 13 parcels of tribal trust lands.” BA25 (emphasis

added). In March 1993, the Bureau issued the 50-year easement for those

thirteen parcels. BA27-28. The easement states that it “is limited to” the



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thirteen parcels, and specifically lists each of the thirteen parcels by its

Bureau tract number and its precise legal description. BA27; BA30.

   Allotted Parcels. At the same time, Enbridge and the Bureau began

negotiating a separate easement over the fifteen Allotted Parcels. See R170-

16 at 6-13. Because Enbridge and the Bureau were unaware at the time that

the Band held fractional interests in three of the Allotted Parcels, the Band

took no part in these negotiations. The Bureau granted 20-year easements

for each of the fifteen Allotted Parcels a few months later. See BA31-36. The

grants identified each of the parcels by tract number, specifying ownership

status (they were all individual-owned) and their precise legal descriptions.

They further stated that the easements are “limited as to tenure for a period

not to exceed 20 (Twenty) years, beginning on June 3, 1993, and ending on

June 2, 2013,” and provided that “[a]t the termination of this Grant of

Easement, Grantee shall remove all materials, equipment and associated

installations within six months of termination, and agrees to restore the land

to its prior condition.” BA32 (emphasis added). “Such restoration may




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include but not be limited to filling, leveling and seeding the right-of-way

area.” BA32.

      B.    The Band Acquires Ownership in Some Allotted Parcels and
            Declines to Renew Enbridge’s Easements.

    1. After 1993, the Band acquired ownership in twelve of the fifteen

Allotted Parcels pursuant to ILCA’s consolidation provisions. A7. These

twelve Allotted Parcels give rise to the Band’s trespass claim.2 They are

separate from the thirteen Tribal Parcels for which the Band granted 50-

year easements:




2The Bureau tract numbers for the twelve parcels are: 430-3B23, 430-R49,
430-3H46, 430-S13, 430-3H318, 430-3H08, 430-E33, 430-3H322, 430-E532,
430-R146, 430-E266, 430-R154. R123 at 21-22 n.11.


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R168 at 10.

   2. In January 2013, the Bureau reminded Enbridge “that the Easements

with Bad River Tribe expire June of 2013.” BA46. Enbridge submitted

renewal applications for the Allotted Parcels two months later. Because the

Band now had ownership interests in most of the Allotted Parcels, federal

law required Enbridge to obtain the Band’s consent to easement renewals

for those parcels. See 25 U.S.C. §324; 25 C.F.R. §§169.3(a), 169.19 (2013).

Enbridge was well aware of this, acknowledging internally that the Band’s

“Tribal Council will need to approve the agreements.” BA49; BA52.

Enbridge obtained neither the Band’s consent nor a renewed easement, see

SA26-39, but nevertheless continued to operate the pipeline.

   The Band had every reason to hesitate about an easement renewal in

2013. Just a few years earlier, another Enbridge pipeline ruptured, releasing

more than a million gallons of crude oil into a tributary of the Kalamazoo

River. See BA130-52. Federal investigators determined that the rupture and

resulting damage were “made possible by pervasive organizational failures

at Enbridge.” BA133. Pipeline ruptures devastated other rivers, including



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the Yellowstone, in the years leading up to 2013. See R484-12 at I-6. The

Band accordingly requested detailed environmental and safety information

from Enbridge so that it could “better identify the possible environmental

effects this pipeline will have on the lands and the people of the Bad River

Tribe.” R170-29 at 2.

    Enbridge provided only limited material in response.3 See R170-30;

R170-31. Thus, in January 2017, the Tribal Council issued a resolution

opposing a new easement. The resolution noted that “our life is rooted in a

connection to the natural world, the source of our health and wellness for

the past, present, and future generations making our relationship with the

natural world sacred.” BA37. It explained that “the natural waters found

in” the Bad River and Lake Superior “give life to plants and animals, and

from these we are blessed with food and medicine, and the natural




3Indeed, as the Band subsequently learned, Enbridge withheld its
knowledge of the growing threat presented by the pipeline’s operation at
the Bad River meander, a risk it started tracking as early as 2013.
(Trial.Ex.457.)


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groundwater and springs found in these places continue to … bless[] [the

Band] with drinking water.” BA37.

   The Band noted that “pipelines of similar setting have broken and

caused extensive environmental damages,” and that “a crude oil spill” at

the Bad River “would be catastrophic to the health and economy” of the

community and “would impact coastal wetlands and wild rice beds, and

traditional fishing areas.” BA37. The Tribal Council thus declared that “it

shall not renew its interests in the rights of way,” and directed tribal staff to

“send notice to [Enbridge] and federal agencies and take all action

permitted under the law for Line 5 removal project development on Bad

River lands and watershed.” BA38.

   Despite the Band’s decision, Enbridge continued to operate its

pipeline—all while recognizing internally that the easements “are expired

and the Band has the ability to hold Enbridge in trespass and likely require

removal of the pipeline.” BA60; see also BA58-59; BA62.

   It took Enbridge still another three years to apply for a pipeline re-route.

BA76:25-BA77:3. In doing so, it proposed a path that crosses numerous



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rivers and streams, while hugging the Reservation’s borders. The district

court found that this path has “little realistic prospect” of being approved

within five years (if ever), A123, given the concerns of multiple federal

agencies and key stakeholders that the proposed route would cause serious

environmental harm to the Reservation and watershed, A94.

        C.   The Looming Threat at the Bad River Meander.

   Enbridge’s trespass is compounded by the looming threat of rupture at a

meander immediately upstream from where the pipeline crosses under the

Bad River. There, the river is carving away the banks and soils that cover

the pipeline. A79-80; A85. Sixty years ago, 310 feet of bank separated the

river from the pipeline. R268 at ES-1. That protection is now almost entirely

gone:




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R268-1 at 64; see also R276 at 11.

   By the time of trial in October 2022, only 26-27 feet of riverbank

remained between the river and the pipeline. A80. Moderate flooding in

April and May 2023 led to substantial additional loss. As the district court

found, “there presently exist four locations at which less than 15 feet of

bank remains”; at one location, “only 11 feet of bank remains.” A85 (citing

BA90).




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BA95.

   The pace of loss this past spring was staggering. As the district court

found, “in one week … 10.5 to 11.5 feet was lost [at one location], nearly the

same amount as still exists.” A85. Three to four feet of bank disappeared in

a single 24-hour period at two different junctures. BA95. And, as the

district court observed, this erosion “has taken place in conjunction with

flood levels that are significant, but far from record flows for this stretch of

the Bad River.” A87.




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A86.



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   Similar erosion next spring would expose the pipeline to the river’s full

force. A46-47; A79; A104-05. When that occurs, the river will erode the soil

on which the pipeline rests, and a portion of the pipeline will end up

suspended in the air, while still holding the full weight of the oil within it.

A78-79; A105. Once the unsupported stretch exceeds its “critical span

length,” the pipeline will rupture, causing up to 21,974 barrels (or 922,908

gallons) of oil to spill into the Bad River and Lake Superior. A59-60 & n.2.

As the district court found, a release of oil at the meander will be

“catastrophic,” A59; A104, devastating resources of exceptionally high

quality and sensitivity in the Bad River, the Kakagon-Bad River Sloughs,

and Lake Superior. R268-2 at 118, 161; BA78-87; see BA88 (Enbridge expert

animation simulating oil spreading in Lake Superior). In turn, this will

destroy the Band’s fisheries, wild rice harvest, and very way of life. A76-77;

A104.

III.    Procedural History

        A.   Summary Judgment

   The district court granted summary judgment for the Band on its

trespass and unjust enrichment claims and rejected Enbridge’s breach-of-

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contract counterclaim. The court held that Enbridge failed to obtain the

consent it needed from the Band to operate its pipeline over the Allotted

Parcels. A10. Because “Enbridge had no valid basis for believing that it

could maintain its pipeline on tribal land without the Band’s permission

and a valid easement from the BIA,” the only question was “the

appropriate remedy.” A28.

   The court held that the Band was “entitled to a profits-based remedy for

Enbridge’s trespass and unjust enrichment.” A29. Restitution was

“appropriate and necessary,” the court explained, “to address the violation

of the Band’s sovereign rights and to take away what otherwise would be a

strong incentive for Enbridge to act in the future exactly as it did here.”

A35. The court deferred judgment on the appropriate amount until after

trial.

   As for the Band’s request for a permanent injunction, the court held that

the Non-Intercourse Act did not automatically entitle the Band to an

injunction, and so proceeded to weigh the equities. A37-39. The court

concluded that monetary damages would be insufficient, the harm to the



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Band irreparable, and that the balance of hardships “weighs heavily in the

Band’s favor.” A40. Nevertheless, the court concluded that material

disputes existed regarding the public interest factor given claims about the

economic impact of a pipeline shutdown. A43; BA3-4.

   Finally, the court rejected Enbridge’s request for summary judgment on

the Band’s nuisance claim. A47.

      B.    Post-Trial Decisions

   The court held a six-day trial on the Band’s nuisance claim and

remedies. On the trespass remedy, the court found that Enbridge made

more than $1.1 billion (before accounting for present value) from the

pipeline since 2013. A118. But instead of ordering Enbridge to disgorge the

wrongful gains the trespass enabled, the court concluded that Enbridge

should pay only a tiny fraction: it discounted the $1.1 billion to reflect the

0.36% of the 642-mile pipeline’s length accounted for by the twelve trespass

parcels. A117; see also BA2-3. The court then further reduced that figure to

reflect the Band’s portion of ownership of the twelve parcels. A117-18. This

led to an award of $4,410,969 (after adjusting for present value) for June



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2013 to June 2022. A119. The court then ordered Enbridge to continue

disgorging profits in the future based on the same formula. A119-20.

   As an alternative measure of disgorgement, the Band sought the

windfall Enbridge reaped by delaying any re-routing or other transitional

efforts necessary to avoid trespassing on the twelve parcels. Using the most

conservative measure of Enbridge’s wrongful gain—the financial benefit

the company derived by deferring action on the re-route path it ultimately

(and unilaterally) chose to pursue—the court found that Enbridge saved

nearly $300 million from its inaction. But the court expressed concern that

awarding that amount would be “disproportionate,” and inexplicably

discounted those savings—which are specific to the Reservation—by again

comparing the disputed parcels’ relationship to overall pipeline length.

A120-21.

   Although the Band presented its two theories as alternatives, the court

then added the two together, for a total of $5,151,668.

   As to injunctive relief, the court agreed that the Band is “entitled to

permanent injunctive relief on its trespass claim under a fair reading of the



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current law applicable to its sovereign rights.” A122. The court rejected

Enbridge’s request for an additional five years to remove its pipeline:

“Enbridge has now had 10 years since losing its rights of way … to move

its bypass forward,” and “the court cannot countenance an indefinite

delay.” A123. Nevertheless, the court granted Enbridge what in its own

words “would amount to a 3-year forced easement,” giving Enbridge until

June 2026 to continue operating the pipeline on the Reservation. A123.

  Finally, the court agreed that Enbridge’s operation of the pipeline on the

Reservation constitutes a public nuisance, as “the current conditions at the

meander create a real and unreasonable risk of [pipeline rupture] occurring

such that equitable relief is warranted.” A75. As a remedy, however, the

court largely adopted Enbridge’s insufficiently protective shutdown and

purge plan. A108-10.

                       SUMMARY OF ARGUMENT

  I. The district court correctly held Enbridge liable for conscious trespass

and unjust enrichment. Enbridge is currently operating its pipeline over

Reservation land owned by the Band. Enbridge’s 20-year easements



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expired in 2013 and expressly require Enbridge to “remove all materials,

equipment and associated installations” and “restore the land to its prior

condition” within six months of expiration. The Band declined to consent

to new easements, and the Bureau has not approved them. Yet Enbridge

continues to operate its pipeline on Band property. That is the definition of

an unlawful, willful trespass.

   Nothing in the parties’ 1992 Agreement suggests otherwise. That

agreement dealt only with parcels in which the Band then had an interest.

The Band’s trespass claim, however, is not about those parcels; Enbridge is

trespassing on parcels in which the Band only obtained an interest later.

   The implied duty of good faith and fair dealing does not save Enbridge

either. “[A] hallmark of Indian sovereignty is the power to exclude non-

Indians from Indian lands,” and sovereign powers may not be surrendered

by implication; only “terms which admit of no other reasonable

interpretation” may be held to effectuate one. Merrion v. Jicarilla Apache

Tribe, 455 U.S. 130, 141, 148 (1982). That bedrock principle forecloses

Enbridge’s effort to impose an implied duty, which fails in any event



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because Enbridge seeks to rewrite rather than enforce the bargain

previously struck by the parties.

   The Non-Intercourse Act further precludes Enbridge’s effort to evade

responsibility for its trespass. Consistent with the clear text, courts have

long held that the Act prohibits easements over Indian land without federal

authorization. Thus, even if the Band had agreed in 1992 to grant Enbridge

a 50-year easement over the Allotted Parcels, that would have had “no

validity in law or equity” unless the federal government authorized it. 25

U.S.C. §177. But the federal government never did so, and instead blessed

only a 20-year easement.

   Finally, 5 U.S.C. §558(c) does not save Enbridge. It does not trump the

Non-Intercourse Act or other more specific and earlier-enacted provisions

governing the conveyances of Indian land—as its neighboring provision,

§559, makes clear. Moreover, §558(c) applies only when the licensee has

made a “sufficient” application for a renewal “in accordance with agency

rules,” but Enbridge’s 2013 renewal applications fell far short of the mark.




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   II. Enbridge is liable for a full accounting of its wrongful gains as a

result of its trespass. The district court’s disgorgement remedy utterly fails

to eliminate the economic incentive for Enbridge to continue trespassing.

The court found not only that Enbridge’s trespass enabled it to make more

than $1.1 billion in net profit from the pipeline since it began trespassing in

2013, but that Enbridge’s decision to forego a re-route in 2013 saved

Enbridge $300 million. Yet it awarded a remedy of just a quarter of a percent

of the gains that Enbridge realized. Under the trifling trespass toll the court

issued, the economically rational choice is for Enbridge to continue

trespassing. That is not valid restitution.

   III. The district court should have ordered Enbridge to stop trespassing

immediately, rather than three years hence. The court’s decree grants

Enbridge a three-year “forced easement” to trespass on Indian land, and

thus constitutes a forbidden “conveyance” of Indian land under the Non-

Intercourse Act, as no federal treaty or statute authorizes it. Indeed, 25

U.S.C. §§321-324 make clear that specific federal authorization (and tribal

consent) is required for any right-of-way, and for oil-and-gas-pipeline



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conveyances in particular. Congress has struck a deliberate balance that the

district court was bound to follow, especially since traditional equitable

principles compel the same result.

   The Transit Treaty does not suggest otherwise. That treaty says nothing

about Indian tribes or Indian lands. No evidence suggests that the United

States even perceived a conflict with the 1854 Treaty that guaranteed the

Band’s sovereign right to exclude non-Indians from its lands. That should

be the end of the matter, as “[t]here must be ‘clear evidence that Congress

actually considered the conflict between its intended action on the one

hand and Indian treaty rights on the other, and chose to resolve that

conflict by abrogating the treaty.’” Herrera v. Wyoming, 139 S.Ct. 1686, 1698

(2019) (quoting Mille Lacs Band, 526 U.S. at 202-03). Moreover, even if the

Transit Treaty applies, Article IV—which Enbridge studiously ignores—

preserves rather than defeats the Band’s action. As for the “foreign affairs

doctrine,” Garamendi and Crosby stand only for the notion that states may

not pursue their own contrary foreign policies; they do not remotely




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suggest that a state or tribe cannot enforce its clear rights under a contract

or easement simply because doing so inconveniences a foreign sovereign.

   IV. The district court correctly held that continued operation of the

pipeline on the Reservation constitutes a public nuisance. Enbridge does

not contest that conclusion or the factual findings underpinning it. It

argues instead that the Pipeline Safety Act displaces nuisance law entirely.

But, in reality, the PSA preserves common-law tort claims: “This chapter

does not affect the tort liability of any person.” 49 U.S.C. §60120(c).

Moreover, the PSA explicitly “does not authorize the Secretary of

Transportation to prescribe the location or routing of a pipeline facility,” id.

§60104(e), instead preserving that issue for other governments—and the

continued operation of the pipeline in the immediate vicinity of a

migrating and flood-prone river is the very nub of the nuisance claim here.

Those express carve-outs from the federal regulatory scheme eviscerate

Enbridge’s pleas for displacement or field preemption.

   V. While the district court correctly found Enbridge liable for public

nuisance, it once again fell short on the remedy, subjecting the Band to a far



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greater risk of a pipeline rupture during the next flooding season than a

reasonable person would incur. The district court’s own factual findings

make plain that its Enbridge-inspired decree, which will allow Enbridge to

continue operating the pipeline up to the very brink of disaster, will render

it impossible for Enbridge to then act in timely fashion to stave off a

catastrophic rupture that will devastate the Bad River watershed and

surrounding environs.

                         STANDARD OF REVIEW

   Following a bench trial, this Court reviews legal issues de novo and

findings of fact for clear error. Metavante Corp. v. Emigrant Savings Bank, 619

F.3d 748, 758-59 (7th Cir. 2010). Summary judgment rulings are reviewed

de novo. Finite Res., Ltd. v. DTE Methane Res., LLC, 44 F.4th 680, 683 (7th

Cir. 2022). Decisions regarding the contours of injunctive relief are

reviewed for abuse of discretion. “A district court … necessarily abuse[s] its

discretion if it base[s] its ruling on an erroneous view of the law or on a

clearly erroneous assessment of the evidence.” Highmark Inc. v. Allcare

Health Mgmt. Sys., Inc., 572 U.S. 559, 563 n.2 (2014).



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                                 ARGUMENT

I.     The District Court Correctly Held Enbridge Liable for Conscious
       Trespass and Unjust Enrichment.

       A.    Enbridge Is Consciously Trespassing on Land Owned by the
             Band and Is Unjustly Enriched by That Trespass.

     The district court correctly held Enbridge liable for an ongoing

conscious trespass. “A trespass may be committed by the continued

presence on the land of a structure, chattel, or other thing which the actor

or his predecessor in legal interest has placed on the land … with the

consent of the person then in possession of the land, if the actor fails to

remove it after the consent has been effectively terminated.” Restatement

(Second) of Torts §160 (1965); see also id. §158 & cmt. i (trespass can occur

“by … propelling … a thing either on or beneath the surface of the land”).

     These provisions describe this case to a T. Enbridge is currently

operating its pipeline over Reservation land owned by the Band. While the

Bureau approved 20-year easements in 1993, those easements—which

expressly require Enbridge to “remove all materials, equipment and

associated installations” and “restore the land to its prior condition” within

six months of its expiration—expired over a decade ago. BA32. The Band


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declined to consent to new easements, and the Bureau has not approved

them. Thus, Enbridge’s own easements obligated it to vacate the premises

long ago, yet it continues to operate its pipeline on Band property and to

transmit oil and natural gas liquids through it, all without the Band’s

consent. That is as straightforward as trespass claims get. See Burns Philp

Food, Inc. v. Cavalea Cont’l Freight, Inc., 135 F.3d 526, 529 (7th Cir. 1998).

      B.    The Band Did Not Breach any Express or Implied Duty in the
            1992 Agreement.

   1. Nothing in the 1992 Agreement suggests that the parties agreed to a

50-year easement over the Allotted Parcels. On the contrary, the text

confirms that Enbridge paid $800,000 for a 50-year easement over thirteen

separate Tribal Parcels—nothing more.

   The Agreement both references allotted lands and makes clear the

easement governs only land in which the Band had an interest in 1992. The

second paragraph defines the phrase “Original Rights of Way” (acquired in

1953) as “including lands in which the Tribe had a legal interest and including

lands generally known as allotted lands.” BA19 (emphasis added). The fourth

paragraph then defines “Existing Rights of Way” as the subset of those


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Original Rights of Way “in which the Tribe now has a legal interest,” i.e., as

of 1992:

      Whereas, that portion of the Original Rights of Way in which the
      Tribe now has a legal interest and any other land through which
      such pipeline was constructed which is subject to rights of way
      of the Company in which the Tribe now has a legal interest are
      hereinafter collectively referred to as the “Existing Rights of
      Way.”

BA19 (emphases added). By specifying that “Existing Rights of Way”

include only “that portion” of the “Original Rights of Way in which the

Tribe now has a legal interest” (i.e., the Tribal Parcels), the Agreement

plainly excludes “lands generally known as allotted lands” (i.e., the

Allotted Parcels) in which the Band then had no known legal interest.

Nothing in the Agreement discusses a 50-year easement over those Allotted

Parcels, in which the Band had no then-current interest.

   Further confirming the point, the Agreement goes on: “The Secretary

may grant to the Company a right of way for the construction, operation

and maintenance of a pipeline for fifty (50) years within the Existing Right of

Way. Said pipeline right of way shall be granted pursuant to and in

accordance with the Tribal Council’s Resolution Granting Pipeline Right of


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Way[.]” BA20 (emphases added). And, as noted above, the Tribal Council

Resolution limited the Band’s consent to the thirteen parcels identified in

Enbridge’s Tribal Lands Application. See supra 16.

   The 1992 Agreement is clear: The 50-year easement applies to parcels of

land “in which the Tribe now has a legal interest,” i.e., the Tribal Parcels—

and not in subsequently acquired allotted lands.

   2. Enbridge ignores all this, pointing instead to a separate provision

requiring the parties to “do whatever they can reasonably do to ensure that

all the objectives of the Tribe and the Company, as those objectives are

expressed in this Agreement, are achieved, even if it means that one or both

of the parties must do something which is not expressly described herein.”

Enbridge.Br.19. According to Enbridge, its “prime objective was to obtain

the Band’s consent to Line 5’s uninterrupted operation on the Reservation

as a whole—not just the parcels then owned by the Band.” Enbridge.Br.22.

Enbridge then insists that the Band breached its responsibility to “do

whatever [it] can reasonably do” to ensure that Enbridge achieves its




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objectives by acquiring distinct parcels subject to a 20-year easement and

not agreeing to extend those separate easements. Enbridge.Br.22.

   That argument is wrong for multiple reasons. First, the provision makes

its touchstone the objectives “expressed in the agreement,” and the 1992

Agreement applies only to lands “in which the Tribe now has a legal

interest,” i.e., as of 1992. BA19 (emphasis added). It does not authorize

Enbridge to privilege its current hopes that the Agreement would convey

an easement over the “Reservation as a whole,” or that the Band would

voluntarily extend the easements over subsequently acquired allotted

parcels for no additional compensation, over the agreement’s text.

   Enbridge notes that the agreement also says that “[o]ne of the

Company’s objectives under this Agreement is to obtain from the Tribe all

consents and authorizations it is possible for the Company to obtain,

whether necessary or not to obtain a fifty (50) year easement for Right of

Way for a pipeline over the Company’s existing pipeline Right of Way in

which the Tribe has an interest.” Enbridge.Br.23 (emphases omitted). But




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that statement is again limited to the “existing” right of way, i.e., the

parcels “in which the Tribe has an interest,” not later-acquired parcels.

   If the point of the 1992 Agreement really were to provide Enbridge with

a 50-year easement over future parcels that the Band might acquire or over

the “Reservation as a whole,” as Enbridge insists, it could easily have said

so. After all, in identifying the “Original Rights of Way,” the agreement

references both the “lands in which the Tribe had a legal interest and

including lands generally known as allotted lands.” BA19 (emphasis

added). The agreement contains not a whit of textual evidence that the

$800,000 payment was to cover any future acquired interest in “allotted

lands.” It instead says the opposite, repeatedly limiting its reach to lands in

which the Band “now” has an interest.

   Perhaps recognizing that problem, Enbridge changes gears, insisting

that even if the point of the Agreement was to provide Enbridge with an

easement over only the “then Band-owned parcels for 50 years,” the Band

thwarted that objective by “depriving Enbridge of the ability to operate the

pipeline for the remaining decades within the fifty-year easement.”



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Enbridge.Br.24 (emphases omitted). But as the district court correctly

recognized, that puts the cart before the horse. It would be one thing for the

Band to hinder the Agreement by, say, interfering with the approval

process for the Tribal Parcels at the Bureau or belatedly asserting that the

Bureau could not approve a 50-year easement over the thirteen Tribal

Parcels. A16-17. Had the Band done so (which it did not), it may well have

violated its obligation to “do whatever [it] can reasonably do” to ensure

that Enbridge got the benefit of its bargain: an easement to operate its

pipeline for fifty years over the Tribal Parcels. A16-17. But it is entirely a

different thing for the Band to assert its sovereign rights over entirely

separate parcels that are not subject to the Agreement at all. A17.

   Enbridge knew from the beginning that obtaining a 50-year easement

over the thirteen Tribal Parcels did not secure a 50-year easement over the

entire Reservation. It understood that the 20-year easements over the

Allotted Parcels obligated it to reach a renewal agreement with the owners

of record in 2013 or else vacate the premises within six months. See supra

18-19. There was always a risk that some of those landowners would



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decline to renew—and whether Enbridge could take full advantage of its

permission on the Tribal Parcels until 2043 has always been contingent on

whether it could persuade the owners of the dozens of other parcels along

the corridor to renew in 2013. The Band did nothing to undermine the

bargain the parties struck. The “objective” of the 1992 Agreement was to

provide Enbridge with permission to operate its pipeline over thirteen

specific Tribal Parcels until 2043—and Enbridge got exactly what it paid

for.

   3. With no support in the text, Enbridge invokes the implied duty of

good faith. That effort fails at the threshold. “[A] hallmark of Indian

sovereignty is the power to exclude non-Indians from Indian lands,” and

tribes cannot be deemed to have surrendered a sovereign power by

implication; only “terms which admit of no other reasonable

interpretation” will suffice. Merrion, 455 U.S. at 141, 148. That foundational

principle forecloses Enbridge’s effort to impose an implied duty.

   Enbridge tries to distinguish “the power of a sovereign to exclude from

its sovereign territory” and the “power to … consent to an easement,”



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Enbridge.Br.26, but no authority supports that hair-splitting distinction.

The power to exclude “necessarily includes the lesser power to place

conditions on entry,” both of which involve the Band’s “sovereign power.”

Merrion, 455 U.S. at 144-45. And Enbridge’s suggestion that the “power to

… consent to an easement” is not a sovereign power because it is

“conferred by statute,” Enbridge.Br.26, makes no sense. To be sure,

“federal statutes have long protected tribal rights against intrusion by third

parties,” including by prohibiting “trespasses on Indian lands.” Felix S.

Cohen, Cohen’s Handbook of Federal Indian Law, §15.08 (2023) (collecting

statutes). But that does not make the “power to exclude non-Indians from

Indian lands” any less a sovereign power. Merrion, 455 U.S. at 141.4

    Enbridge’s contention that granting an easement “does not diminish a

tribe’s sovereign authority,” Enbridge.Br.28, only reflects Enbridge’s stilted

view of tribal history and sovereignty. “[T]hat the tribe chooses not to

exercise its power” to exclude “when it initially grants a non-Indian entry




4The Bureau agrees. See 80 Fed. Reg. at 72,505-06, 72,509; see also Barboan,
857 F.3d at 1112.


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onto the reservation does not permanently divest the tribe of its authority

to” exercise that power. Merrion, 455 U.S. at 145. But divesting a tribe of its

right to exclude (especially in the wake of events including the disastrous

Kalamazoo River spill) does diminish its sovereign authority—which is why

tribes may not surrender that authority by implication.

   Enbridge’s other arguments make even less sense. Enbridge likens the

Band’s trespass claim to that of “a private landowner.” Enbridge.Br.26. But

the Band is not a “private landowner”—it is a sovereign government, and

its land is held in trust by the United States on a treaty-guaranteed

reservation. See 1854 Treaty, art. 2. Conflating a tribe’s power to exclude

with that of an “individual landowner” again ignores reality and

“denigrates Indian sovereignty.” Merrion, 455 U.S. at 146.

   Enbridge asserts that “[t]he Band did not merely refuse consent,” but

“first acquir[ed] land in which the Band held no interest.” Enbridge.Br.27.

But the Band’s reacquisition of Reservation land only reinforces that the

Band is acting as a sovereign; after all, the Band acquired the parcels at

issue pursuant to ILCA, which Congress enacted to “consolidate fractional



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interests in a manner that enhances tribal sovereignty,” 25 U.S.C. §2201

note. Finally, Enbridge’s assertion that “the sovereign power does not

apply” when the sovereign enters into a contract, Enbridge.Br.27, flies in

the face of black-letter law, under which “sovereign power … governs all

contracts subject to the sovereign’s jurisdiction, and will remain intact

unless surrendered in unmistakable terms.” Merrion, 455 U.S. at 148.

    In all events, even if the implied duty were relevant, Enbridge’s implied-

duty argument fails on its own terms. The implied duty exists to “honor[]

the reasonable expectations created by the autonomous expressions of the

contracting parties,” not to “expand a party’s contractual duties beyond

those in the express contract.” Metcalf Constr. Co. v. United States, 742 F.3d

984, 994 (Fed. Cir. 2014) (federal common law).5 Thus, the “implied duty of

good faith and fair dealing is limited by the original bargain”: “[A]n act

will not be found to violate the duty (which is implicit in the contract) if

such a finding would be at odds with the terms of the original bargain,




5See A10 n.3 (“The parties agree that federal law applies to … Enbridge’s
contract claims.”); Enbridge.Br.18 n.2 (same).


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whether by altering the contract’s discernable allocation of risks and

benefits or by conflicting with a contract provision.” Id. Applying those

principles, the district court correctly found no breach of the implied duty.

“[B]locking renewal of Enbridge’s twenty-year easements on the Allotted

Parcels,” Enbridge.Br.20, bears no connection to any specific promise in the

1992 Agreement. That agreement granted Enbridge a 50-year easement

over thirteen specific parcels of tribal land—nothing more. See supra 16-18.

That is exactly what Enbridge received.

   If Enbridge wanted the 1992 Agreement to cover later-acquired parcels,

it could have bargained for such protection. The implied duty of good faith

does not give Enbridge a do-over. It applies to circumstances “that could

not have been contemplated at the time of drafting, and which therefore

[were] not resolved explicitly by the parties.” Mkt. St. Assocs. v. Frey, 941

F.2d 588, 595 (7th Cr. 1991). But by 1992, ILCA had been in effect for nearly

a decade, and the Band had been acquiring interests in allotted parcels

under it throughout the Reservation. Indeed, Enbridge admitted below that

“Enbridge knew it needed to obtain the Band’s cooperation and consent in



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advance for future BIA easement renewal(s) over the Allotted Parcels.” R207

at 13.6 Using the implied duty of good faith to preclude the Band from

asserting its right to exclude would thus alter “the contract’s discernable

allocation of risks and benefits,” Metcalf, 742 F.3d at 991, by transforming

(without any additional consideration) a 50-year easement over thirteen

specific parcels into one over every parcel that the Band might acquire in

the future.

      C.      The Non-Intercourse Act Precludes Enbridge’s Breach-of-
              Contract and Implied-Duty-of-Good-Faith Claims.

    1. The Non-Intercourse Act provides that “[n]o purchase, grant, lease, or

other conveyance of lands, or of any title or claim thereto, from any Indian

nation or tribe of Indians, shall be of any validity in law or equity, unless

the same be made by treaty or convention entered into pursuant to the

Constitution.” 25 U.S.C. §177. It speaks in broad terms. “[T]he statute

generally covers any sort of conveyance or alienation of an interest in real




6Accordingly, this case is nothing like the Restatement illustration
Enbridge cites (at 21), which involves an action that was neither
“contemplated” by the parties nor “justified.”


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property.” Robert N. Clinton & Margaret Tobey Hotopp, Judicial

Enforcement of the Federal Restraints on Alienation of Indian Land, 31 Me. L.

Rev. 17, 69 (1979) (collecting cases). That (obviously) includes easements

over Indian lands. The word “conveyance” means an “instrument … by

which some estate or interest in lands is transferred from one person to

another,” Black’s Law Dictionary 273 (1st ed. 1891), and an “easement” is

“a permanent interest in another’s land,” id. at 405. Granting an easement is

thus a “conveyance of lands”—as numerous contemporaneous decisions

confirm. See, e.g., Worrall v. Rhoads, 2 Whart. 427, 428 (Penn. 1837); Arnold v.

Stevens, 24 Pick. 106, 109 (Mass. 1839). In short, “any easement over Indian

land require[s] the consent of the United States.” Seneca Nation v. Hochul,

58 F.4th 664, 667 (2d Cir. 2023).

   Context reinforces that conclusion. The phrase “other conveyance of

lands” follows a list of more specific verbs, including “purchase,” “grant,”

and “lease.” Congress intended “other conveyance of lands” to serve as

catchall to sweep in all sorts of interests in land, in any form. See Lac du

Flambeau Band of Lake Superior Chippewa Indians v. Coughlin, 599 U.S. 382,



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388-89 (2023). The phrase “other conveyance of lands” also precedes the

phrase “or of any title or claim thereto,” further confirming that it is not

limited to transactions that convey title, but extends to any interest in land,

including easements. See Chemehuevi, 767 F.3d at 906.

   History also reinforces this reading. The initial version of the statute

prohibited just the “sale of lands made by … any nation or tribe of Indians.”

Act of July 22, 1790, Pub. L. No. 1-33, §4, 1 Stat. 137, 138 (emphasis added).

Congress recognized, however, that “the conflict between whites and

Indians that marked American Indian relations” at the time was caused not

just by “private purchase[s],” but by other encroachments as well,

including the “running of roads through Indian Country.” Prucha, supra, at

139, 144-46. Congress thus updated the statute to make it “stronger” and

“more detailed,” Oneida Cnty. v. Oneida Indian Nation of N.Y., 470 U.S. 226,

232 (1985), expanding it to include any “purchase or grant of lands, or of any

title or claim thereto,” Act of Mar. 1, 1793, Pub. L. No. 2-19, §8, 1 Stat. 329, 330

(emphases added), and then again to include any “purchase, grant, lease, or




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other conveyance of lands, or of any title or claim thereto,” Act of Mar. 3, 1799,

Pub. L. No. 5-46, §12, 1 Stat. 743, 746 (emphasis added).

   All of this explains why courts have long held that the Act prohibits

easements over Indian land in the absence of federal authorization.

Particularly relevant is Southern Pacific Transportation Co., in which the

Ninth Circuit invalidated a nearly-100-year-old “right-of-way across the

reservation.” 543 F.2d at 681. The court explained that “an easement is an

interest in land which can be conveyed by an Indian tribe only ‘by treaty or

convention entered into pursuant to the Constitution.’” Id. at 697 (quoting

25 U.S.C. §177). Because the easement “purport[ed] to convey a claim to

Indian lands from an Indian tribe” absent federal authorization, it was

“invalid under [the Non-Intercourse Act].” Id. at 684.

   2. The Non-Intercourse Act likewise plainly forecloses Enbridge’s

attempt to use the 1992 Agreement to excuse its trespass. Even if the Band

somehow implicitly agreed in 1992 to grant Enbridge a 50-year easement

over the Allotted Parcels (it did not), that grant would have “no validity in

law or equity” absent federal authorization. 25 U.S.C. §177. And the federal



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government never authorized a 50-year easement over the Allotted Parcels,

only a 20-year easement. Indeed, Enbridge acknowledges that “[t]he BIA

issued an easement through 2043 over the Tribal Parcels and easements

through June 3, 2013, over the Allotted Parcels.” Enbridge.Br.8 (emphases

added).

   The record confirms as much. Federal law in 1992 required (as it does

today) that the easement instrument “shall incorporate all conditions or

restrictions set out in the consents obtained” from the tribe. 25 C.F.R.

§169.15 (1992). The Bureau’s “Grant of Easement” for the twelve Allotted

Parcels relevant here all confirm that the easement “is limited as to tenure

for a period not to exceed 20 (Twenty) years, beginning on June 3, 1993, and

ending on June 2, 2013.” BA32. By contrast, the Bureau’s “Grant of

Easement” for the 50-year right-of-way specifically states that the easement

“is limited to” the thirteen Tribal Parcels—none of which is the subject of

the Band’s trespass claim. BA27; BA30. Likewise, contemporaneous letters

confirm that the Bureau understood that the Band’s request “to grant a

pipeline easement for fifty years” pertained only to a “Right-of-way to



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[Enbridge] over 13 parcels of tribal trust land.” BA25 (emphasis added).

Nothing in the record suggests that the Bureau approved a 50-year

easement for any of the separate Allotted Parcels. Thus, even if the 1992

Agreement could somehow be read (explicitly or implicitly) to “give

Enbridge” the “right” to operate its pipeline over the Allotted Parcels until

2043, Enbridge.Br.17, it has “no validity in law or equity,” 25 U.S.C. §177,

full stop.7

       D.     The APA Does Not Excuse Enbridge’s Trespass.

    Enbridge argues that 5 U.S.C. §558(c) allows it to operate its pipeline

across the Reservation despite the expiration of its easements because the

Bureau has not definitely rejected its application to extend the expired 20-

year easements. Enbridge.Br.29-32. Enbridge is wrong on multiple levels.



7 In fact, had the Bureau approved a 50-year easement for any Allotted
Parcel in 1993, it would have issued the easement under 25 U.S.C. §323, as
it did with the thirteen Tribal Parcels. See BA27. But the Bureau instead
chose to issue the easements for the Allotted Parcels under §321, see BA31,
which explicitly provides that “the rights herein granted shall not extend
beyond a period of twenty years,” 25 U.S.C. §321 (emphasis added); see, e.g.,
Blackfeet Indian Tribe v. Mont. Power Co., 838 F.2d 1055, 1056 (9th Cir. 1988)
(§321 “authoriz[es] the Secretary to grant rights-of-way as easements … for
a period no longer than twenty years”).


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   First, §558(c) is a generic provision that cannot trump the specific and

earlier-enacted provisions of the Non-Intercourse Act and 1948 Right-of-

Way Act that apply in the sensitive context of conveyances of Indian land.

See Varity Corp. v. Howe, 516 U.S. 489, 511 (1996). Indeed, §558’s neighboring

provision—which Enbridge fails to mention—makes clear that “[t]his

subchapter,” which includes §558, “do[es] not limit or repeal additional

requirements imposed by statute or otherwise recognized by law.” 5 U.S.C.

§559.

   Second, by its plain terms, §558(c) applies only when the licensee has

made a “sufficient” application for a renewal “in accordance with agency

rules.” But Enbridge’s 2013 applications are the opposite of “sufficient,” as

they flout key Bureau requirements. The relevant rule in 2013 authorized

the Secretary to renew a right-of-way only if the tribe consented in writing

and only after the applicant paid the negotiated compensation to the tribe:

“If the renewal involves no change in the location or status of the original

right-of-way grant, the applicant may file with his application a certificate

under oath setting out this fact, and the Secretary, with the consent required



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by §169.3, may thereupon extend the grant for a like term of years, upon the

payment of consideration as set forth in §169.12.” 25 C.F.R. §169.19 (2013)

(emphases added). “[T]he consent required by §169.3” includes “the prior

written consent of the tribe.” Id. & id. §169.3 (2013). And the “consideration

as set forth in §169.12” is the monetary compensation that the parties agree

to after “negotiations for a … renewal.” Id. §169.12 (2013).8 The renewal

application form Enbridge used thus lists “Written consent of landowners

(ROW Form 94-7)” as well as “Deposit of estimated … compensation (See

169.4 and 169.14)” as two of the “REQUIRED SUPPORTING

DOCUMENTS” that applicants must file alongside their renewal

application. BA45.

     Enbridge did not satisfy those requirements. As the Bureau explained in

rejecting Enbridge’s renewal request in 2020: “Consent of the landowners is

required before a ROW can be granted.” BA39. “To date, the requisite

landowner consent(s) have not been provided. The applications have now

been pending with the agency for more than seven years and remain incomplete.”


8   The currently-in-force rules state likewise. See 25 C.F.R. §169.202.


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BA39 (emphasis added). An “incomplete” application is not the kind of

“timely and sufficient application” that triggers §558(c). After all, tribal

consent is the sine qua non of a sufficient application, and what is

incomplete is insufficient by definition. See Black’s Law Dictionary 1285

(5th ed. 1979) (“sufficient” means “[a]dequate,” “enough,” and “that which

may be necessary to accomplish an object”).

   Enbridge does not dispute that the Bureau’s rules prohibit it from

renewing its easements absent Band consent, or that it failed to obtain that

consent. Yet it insists that its renewal applications were “sufficient” because

(it says) landowner consents are a “substantive,” not a “procedural,”

requirement for renewal. Enbridge.Br.30. The statute draws no such

distinction. Where an applicant’s failure to satisfy an “agency rule[]”

precludes the agency from renewing a license, the application is not

“sufficient,” regardless of whether one characterizes the relevant rule as

“procedural” or “substantive.” 5 U.S.C. §558(c); see Bankers Life & Cas. Co. v.

Callaway, 530 F.2d 625, 634 (5th Cir. 1976) (finding application insufficient

because “a substantive problem arose with [it]”). Regardless, the Bureau



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plainly viewed the deficiencies in the applications as “procedural.” The

Bureau’s application forms treat landowner consent as one of the

“REQUIRED SUPPORTING DOCUMENTS,” and the Bureau explained

that Enbridge’s failure to submit that supporting document rendered its

applications “incomplete.” BA39, BA45.

   At bottom, Enbridge’s argument makes nonsense of §558(c). The point

of the provision is to avoid unfairly punishing a diligent applicant for

agency delay in processing a renewal application. See Kay v. FCC, 525 F.3d

1277, 1279 (D.C. Cir. 2008); U.S. Dep’t of Justice, Att’y Gen.’s Manual on the

APA 91-92 (1947). The delay here had nothing to do with the agency, but

everything to do with Enbridge’s submission of an “incomplete”

application that remained so “for more than seven years.” BA39. Section

558(c) cannot save Enbridge from liability for its trespass.




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II.     Enbridge Is Liable for a Full Accounting of Its Wrongful Gains as a
        Result of Its Trespass.

        A.    A Restitution Award that Effectively Incentivizes Continued
              Trespassing Violates Core Principles and the Non-Intercourse
              Act.

      Restitution reflects the foundational principle that “no person shall

profit by his own wrong.” Pearson v. Target Corp., 968 F.3d 827, 831 (7th Cir.

2020). The goal is to “strip the defendant of a wrongful gain.” Third

Restatement §51 cmt. a. By depriving a wrongdoer of its profits, restitution

deters similar misconduct.

      Accordingly, a “defendant who takes something (and not because of an

innocent mistake, either) that belongs to the plaintiff must give it back

together with any profit from the unlawful appropriation even if that profit

exceeded what the plaintiff would have earned had his property not been

taken.” Schlueter v. Latek Cap. Corp., 683 F.3d 350, 354 (7th Cir. 2012)

(emphasis added). Any “lesser liability would provide an inadequate

incentive to lawful behavior.” Third Restatement §3 cmt. c. “If A anticipates

(accurately) that unauthorized interference with B’s entitlement may yield

profits exceeding any damages B could prove, A has a dangerous incentive



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to take without asking—since the nonconsensual transaction promises to

be more profitable than the forgone negotiation with B.” Id. Worse, if “a

conscious wrongdoer were able to make profitable, unauthorized use of the

claimant’s property, then pay only the objective value of the assets taken or

the harm inflicted, the anomalous result would be to legitimate a kind of

private eminent domain (in favor of a wrongdoer) and to subject the

claimant to a forced exchange.” Id. That dynamic is particularly acute when

it comes to an easement, which is a voluntary agreement to traverse

someone else’s property. If a party can trespass involuntarily rather than

traverse with permission, and pay only an approximation of the market

value for the permission (if that), then the incentives to respect property

rights and negotiate voluntary easements disappear.

   That would be problematic enough in an ordinary case. But it is

especially intolerable in a case that involves the de facto condemnation of

tribal land for private use. The Non-Intercourse Act prohibits not just

agreements between tribes and third parties that convey Indian land

without authorization via treaty or statute; it equally prohibits judicial



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orders that have the same effect. After all, courts may not “order relief

inconsistent” with the “express terms” of “federal law.” Kansas v. Nebraska,

574 U.S. 445, 456 (2015). Just as “courts have no proper role in the

adjustment of reservation borders,” McGirt v. Oklahoma, 140 S.Ct. 2452,

2462 (2020), they have no authority to issue any “judgment or decree which

operates directly or indirectly to transfer the lands from the Indians,”

United States v. Candelaria, 271 U.S. 432, 443 (1926). That is why courts have

held that tribal land is “beyond the reach of condemnation.” Barboan, 857

F.3d at 1111-12. And it is why courts have declined to recognize an

“implicit license” to operate a railroad across Indian land. S. Pac., 543 F.2d

at 698-99. A restitution award so trifling that it has the effect of extending

an easement over the Band’s objection while incentivizing future trespasses

on Indian land would thus contravene the Non-Intercourse Act as well as

basic restitution principles.

      B.    The Restitution Award Fails to Stop Enbridge from
            Trespassing.

   The district court’s disgorgement remedy should have eliminated the

economic incentive for Enbridge to trespass. It utterly fails in that objective.


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Indeed, it imposes only a modest toll that allows Enbridge to continue to

trespass to this day.

    Pipeline profits. Determining the appropriate amount of disgorgement

requires assessing the amount of Enbridge’s gain enabled by the trespass.

Here, Enbridge profited immensely by trespassing on tribal land. The

district court found that Enbridge’s trespass enabled more than $1.1 billion

in net profits from the pipeline since Enbridge began trespassing in 2013.

That was the proper amount of the disgorgement remedy.9 After all, “no

person shall profit by his own wrong.” Pearson, 968 F.3d at 831. Any “lesser

liability would provide an inadequate incentive to lawful behavior.” Third

Restatement §3 cmt. c.




9For its ultimate recovery, the Band sought only an amount proportional to
the Band’s ownership interest in the parcels at issue, which on average was
69.455% during the first nine years of trespass. A121. The Band therefore
does not contest the district court’s decision to reduce the profits award on
that basis, only the decision to prorate the award based on the fraction of
the pipeline in trespass. For simplicity’s sake, the Band uses the full
disgorgement amounts as shorthand in this briefing, while understanding
that any recovery will be adjusted accordingly.


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   The district court declined to enforce those principles, reasoning that

because the Allotted Parcels constitute only 0.36% of the 642-mile pipeline,

only 0.36% of Enbridge’s profits were “attributable to the 12 parcels at

issue.” A117; see also BA2-3. The district court did not disagree that

Enbridge’s trespass was, and continues to be, absolutely necessary to the

functioning of the entire pipeline (and thus all of Enbridge’s profits).

Without permission or a costly re-route or other transition, Enbridge would

have been unable to generate any of its $1.1 billion in profits. Awarding

only a trivial percentage of those profits, through a formula that treats the

segments where Enbridge has long willfully trespassed no differently from

segments where Enbridge possesses valid easements, violates first

principles and loses sight of the objective of restitution: to deter wrongful

conduct by “eliminat[ing] profit from wrongdoing.” Third Restatement

§51(4)-(5).

   To the extent the district court’s decision reflected concerns about

causation, they were misplaced. While courts may only order

disgorgement of gains that are “causally related to the wrongdoing,” SEC



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v. First City Fin. Corp., 890 F.2d 1215, 1231 (D.C. Cir. 1989), Enbridge’s

profits are directly attributable to its trespass under any theory of

causation. But for that trespass, Enbridge would not have made a cent from

its pipeline. Every gallon that passes through the pipeline necessarily

trespassed tribal land. The causal link is as direct as it gets.

   To be sure, saying that a “profit is directly attributable to the underlying

wrong … does not mean that the defendant’s wrong is the exclusive or

even the predominant source of the defendant’s profit.” Third Restatement

§51 cmt. f. And with a conveyance like a pipeline, a lawful right to operate

each segment is a necessary ingredient (i.e., but-for cause) of profitable

operation. But determining whether a “defendant’s profit is properly

attributable to the defendant’s wrong” or to the defendant’s legitimate

activity is not a question of causation. Id. It is one of apportionment, i.e.,

deciding how much of a defendant’s profit should be attributed to its

wrong, “as distinguished from other causes.” William Page Keeton et al.,

Prosser & Keeton on Torts §52, at 345 (5th ed. 1984). And to the extent the

district court’s decision reflects apportionment concerns, the court simply



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misunderstood the relevant principles. The “burden is on the defendants …

to show which profits are attributable to their own investments” rather

than their wrongdoing. Leigh v. Engle, 727 F.2d 113, 138 (7th Cir. 1984)

(ERISA context); see also Bucklew v. Hawkins, Ash, Baptie & Co., 329 F.3d 923,

932-33 (7th Cir. 2003) (same in copyright context); Third Restatement §51

cmt. i (same generally). When a defendant merely shows that “damages are

at some unascertainable amount below an upper limit and when the

uncertainty arises from the defendant’s wrong, the upper limit will be

taken as the proper amount.” Grace v. Corbis-Sygma, 487 F.3d 113, 119 (2d

Cir. 2007). By resolving uncertainty in victims’ favor, that rule “avoid[s] the

potential for a wrongdoer to ‘profit by his wrongdoing at the expense of his

victim.’” Id.

   Enbridge has not come close to meeting its burden of showing with any

certainty that its profits are attributable to anything other than its trespass,

or why it makes sense for the restitution award to treat miles of ongoing

trespass no differently from segments where Enbridge operates lawfully.

While less than 1% of the pipeline trespassed on tribal land, 100% of the



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petroleum products from which Enbridge’s profits are derived trespassed

through it. Enbridge’s “wrongful trespass affected and enabled” all of its

Line 5 business—so “the entire benefit” that Enbridge “gained is

attributable to the wrongful trespass.” In re de Jong, 588 B.R. 879, 893 n.11

(9th Cir. B.A.P. 2018) (reversing decision to apportion profits), aff’d, 793

F.App’x 659 (9th Cir. 2020).

   Regardless, the district court’s decision ignores that any apportionment

methodology must still serve restitution’s goals—i.e., deterring wrongful

conduct by stripping a wrongdoer of the profits of wrongdoing. See Third

Restatement §51(4). And there is zero question that an apportionment

methodology that turns on the length of pipeline and treats trespassing

segments and lawful segments the same will almost always fail that acid

test. Under the district court’s reasoning, a company operating a lengthy

pipeline that trespasses on tribal land will almost always be on the hook for

only a tiny portion of its profits. Worse still, that portion will not account

for the sovereign nature of the Band or the reality that the Band’s land,

unlike most of the property traversed by Enbridge’s pipeline, is not subject



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to involuntary condemnation. The district court’s apportionment

methodology thus inherently undervalues the Tribe’s land and sovereignty

to the benefit of an admitted trespasser. That it will fail to deter Enbridge

and others going forward is certain. If Enbridge can make $1.1 billion from

operating the pipeline in trespass for over a decade, why would it change

its behavior based on a $5.1 million restitution award? The latter sum

amounts to little more than a toll, leaving Enbridge—and every other

company disinclined to follow the law—with the incentive to disregard the

sovereign decisions and property rights of tribes, including the Band.

   Moreover, it is particularly problematic to let Enbridge retain nearly all

the profits it has earned since the district court’s September 2022 summary

judgment decision, which adjudicated Enbridge to be in conscious trespass

and held that only (the court’s conception of) the public interest, not

Enbridge’s interests, justified allowing the pipeline to continue to operate.

A40-41. Under that logic, an adjudicated trespasser should derive no

ongoing profits by operating in purported service of the public interest

over the Band’s sovereign objection. Yet Enbridge has earned more than



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$130 million from Line 5 since being adjudicated a trespasser, and $40 million

since the district court issued its final order in June 2023—sums that dwarf

the amount Enbridge has been ordered to pay for over a decade of trespass.

The court’s award is restitution in name only.

   Avoided costs. At the very least, the court should have ordered Enbridge

to disgorge the $300-million windfall it received by delaying a transition

away from trespass, as measured by the costs associated with its preferred

(and least-expensive) path to re-route its pipeline around the Reservation.

   As the district court correctly recognized, Enbridge’s unlawful gains

include expenses it avoided or deferred because of its trespass. A120. After

all, a defendant’s wrongful gains include “the unjust avoidance of a loss.”

Reich v. Cont’l Cas. Co., 33 F.3d 754, 756-57 (7th Cir. 1994); see also 1 Dan B.

Dobbs, Law of Remedies §4.5(3), at 640 (2d ed. 1993) (“Dobbs on Remedies”)

(“The savings can be seen as a form of income.”). Here, re-routing the

pipeline around the specific segment at issue in 2013 would have cost

Enbridge roughly $500 million at minimum. A120. Enbridge avoided

paying that substantial segment-specific amount for over a decade by



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trespassing instead, which benefited Enbridge by freeing that money for

other uses in the meantime. The court calculated that benefit (in the form of

time value of money) at almost $300 million. A121.10

     The court then discounted that amount based on the Band’s average

share in the parcels at issue (69.455%), which brought the total down to

roughly $206 million. A121. The Band does not contest that proportional

reduction. But that should have been the end of it. Instead, the court

inexplicably discounted that segment-specific figure based on the overall

pipeline length, resulting in $740,699—less than a quarter of one percent of

Enbridge’s avoided costs.

     While the district court’s decision to pro-rate Enbridge’s overall pipeline

profits was at least explicable (though unjustified), its decision to pro-rate

Enbridge’s avoided costs that have to do only with the segment in trespass,

not the rest of the pipeline, is simply incoherent. No recognized principle of

restitution—not causation, not apportionment, not even equity writ large—


10This calculation is conservative, as it is based on the cost of the shortest,
least expensive re-route path that Enbridge could have proposed. R583 at
PDF23.


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justifies it. As to causation, there is no dispute: But for Enbridge’s trespass

across the Allotted Parcels, Enbridge would have been forced to re-route its

pipeline around those parcels in 2013 or reconfigure its system more

broadly (incurring additional costs in the process). There are no

complicated apportionment questions either; the $500 million in avoided

spending is entirely attributable to the segment at issue. Nor do any

recognized principles of equity justify the district court’s decision. The

court worried that awarding the full $300 million (as adjusted for

ownership interest) “would result in disgorgement disproportionate to

Enbridge’s trespass on a few parcels.” A121. But that amount was directly

tied to what Enbridge saved by not re-routing around the specific parcels at

issue. Enbridge could not have earned profits from Line 5 without either

trespassing on the Band’s land or completing a re-route. Under those

circumstances, there is nothing remotely inequitable or disproportionate

about forcing Enbridge to disgorge its savings from deferring those

necessary costs by over a decade while continuing to trespass (and thereby

netting over a billion dollars during that same decade).



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   What is disproportionate, though, is ordering Enbridge to disgorge just a

quarter of a percent of gains that it realized only because of its wrongdoing.

To be sure, courts sometimes exercise their discretion to award less than

full gains. See, e.g., Kansas, 574 U.S. at 465. But doing so is appropriate only

when the smaller remedy would nevertheless be sufficient to serve

restitution’s goal of deterring wrongdoing by eliminating its profits. Id. at

465-66. Here, the district court made zero effort to explain why requiring

Enbridge to disgorge a tiny fraction of its avoided costs would suffice to

discourage future trespass. Nor could it: If Enbridge can reap (at a

minimum) a $300 million benefit from delaying a transition away from

trespass for more than a decade, it is impossible to see how requiring

Enbridge to disgorge only $5.1 million of that benefit (less than 2% of its

gain) would change its behavior or the behavior of any other knowing

trespasser on tribal land.

   Under the trifling trespass toll that the district court issued, the

economically rational choice is for Enbridge to continue trespassing. The

district court’s award wholly fails to satisfy the purposes of restitution.



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III.   The District Court Erred By Refusing to Issue a Permanent
       Injunction Ordering Enbridge to Stop Trespassing Immediately.

       A.   The Non-Intercourse Act Requires Immediate Cessation of
            Enbridge’s Trespass.

   1. While courts have discretion to shape equitable relief, it is a

longstanding maxim that a court of equity cannot “create a remedy in

violation of law.” INS v. Pangilinan, 486 U.S. 875, 883 (1988). Here, the law

declares that no “conveyance” of Indian land shall have “any validity in

law or equity” unless made in accordance with a federal treaty or statute.

25 U.S.C. §177. Yet the district court’s injunction grants Enbridge a three-

year “forced easement” to trespass on Indian land (in exchange for less

than 0.36% of its profits). That is a “conveyance” of Indian land under the

Non-Intercourse Act. See supra 50-53. And no federal treaty or statute

authorizes it. To the contrary, the relevant statutes strictly prohibit the

grant of rights-of-way over Indian land “without the consent of the proper

tribal officials.” 25 U.S.C. §324; see supra 9-10. When, as here, a trespasser

expresses its intent to continue trespassing in the absence of an injunction,

the Non-Intercourse Act affirmatively demands an injunction ordering the

trespasser to cease and desist.

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   To be sure, “a federal judge sitting as chancellor is not mechanically

obligated to grant an injunction for every violation of law.” Amoco Prod. Co.

v. Village of Gambell, 480 U.S. 531, 542 (1987). But “Congress may intervene

and guide or control the exercise of the courts’ discretion.” Town of Munster

v. Sherwin-Williams Co., 27 F.3d 1268, 1271 (7th Cir. 1994). And “Congress

has spoken in the plainest of words,” TVA v. Hill, 437 U.S. 153, 194 (1978),

when it comes to conveyances of Indian land: “No purchase, grant, lease, or

other conveyance” of Indian lands “shall be of any validity in law or equity”

unless made in accordance with a federal treaty or statute. 25 U.S.C. §177

(emphasis added). Congress has spoken with equal plainness when it

comes to rights-of-ways over Indian land: “No grant of a right-of-way over

and across any lands belonging to a tribe … shall be made without the

consent of the proper tribal officials.” Id. §324 (emphasis added).

   These statutes admit of no exception: The sovereign rights of tribes in

protecting the remaining integrity of their land bases cannot be balanced

away or subordinated to a singular court’s conception of the public

interest. And it is not as if Congress was unaware of countervailing



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considerations, including the Nation’s need for energy. Congress passed 25

U.S.C. §321 at the turn of the twentieth century to help ensure that

“modern necessities” such as “train tracks, telegraph wires, and other

conduits of modern commerce” could “span the continent without

encumbrance” as the American people headed west. Davilla, 913 F.3d at

964. It passed the 1948 Right-of-Way Act amidst the post-war infrastructure

boom and its attendant massive expansions in pipeline infrastructure

(including the construction of Line 5). Nevertheless, at both junctures

Congress explicitly required tribal consent (and federal approval) for

easements across tribal lands. Congress struck a deliberate balance that the

district court was bound to follow.

  2. The district court resisted that conclusion, emphasizing Oneida

County’s dictum that “the Nonintercourse Act does not address directly the

problem of restoring unlawfully conveyed land to the Indians,” 470 U.S. at

239. A38. That is a non-sequitur. The Band is not seeking to redress an

unlawful conveyance of its land. It seeks a remedy to prevent such a

conveyance by the court. Whatever the Non-Intercourse Act may say about a



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court’s ability to redress an unlawful conveyance of tribal lands, it directly

and explicitly forbids a court from accomplishing such a conveyance, be it

“in law or equity.” 25 U.S.C. §177 (emphasis added). Yet that is exactly what

the district court did with its three-year “forced easement.” A123.

   Nothing in City of Sherrill v. Oneida Indian Nation of New York, 544 U.S.

197 (2005), is to the contrary. There, the Oneida sought to prohibit a city

from taxing land the tribe had recently purchased after having been absent

from the region for two centuries. Id. at 211-12. The Court held that laches

barred that request, id. at 221, but in doing so it emphasized the long

period in which the “embers of sovereignty” had grown cold, id. at 214.

This case could not be more different. “Nothing akin to the Oneida’s

wholesale abandonment of their reservations occurred here[.]” Lac Courtes

Oreilles Band, 46 F.4th at 562. The Allotted Parcels are on land clearly

understood as part of the Reservation. The easements themselves

recognized as much and expressly contemplated the need for Enbridge to

vacate within six months of expiration. If City of Sherrill had involved a 20-




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year cessation of taxing authority with an express condition that taxes

could resume upon expiration, the tribe would have prevailed.

   Finally, Enbridge notes that the Tenth Circuit in Davilla ordered the

district court to address the traditional injunction factors in a trespass

action. Enbridge.Br.40. But the Tenth Circuit did not sanction disregard of

the Non-Intercourse Act’s clear commands. The Davilla plaintiffs were

individual Indians, 913 F.3d at 962, whose interests are not protected by the

Act, see San Xavier Dev. Auth. v. Charles, 237 F.3d 1149, 1151 (9th Cir. 2001).

      B.    Basic Equitable Principles Support the Same Result.

   1. Remarkably, Enbridge argues that the district court did not apply the

four-factor injunction test in determining a trespass remedy.

Enbridge.Br.40-43. Reality differs: The district court determined that an

injunction is necessary to prevent irreparable harm and that monetary

damages are inadequate to compensate the Band for its injury. A40. That

was obviously correct. “As a general rule, interference with the enjoyment

or possession of land is considered ‘irreparable’ since land is viewed as a

unique commodity for which monetary compensation is an inadequate



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substitute.” Pelfresne v. Vill. of Williams Bay, 865 F.2d 877, 883 (7th Cir. 1989).

And “[w]hen the defendant by words or conduct expressly or impliedly

threatens repeated future trespasses, the injunction will go.” Dobbs on

Remedies §5.10(3), at 809. It is hard to imagine a clearer case of future

trespasses than when, as here, the trespasser refuses to leave.

   The court likewise agreed that “the balance of hardship between the

parties weighs heavily in the Band’s favor.” A40. That too was spot-on. The

easements terminated in 2013 and treated six months as the reasonable

interval for Enbridge to vacate. Enbridge thus had every reason to start its

transition planning over a decade ago, and certainly has no equitable claim

to needing longer to vacate the premises than the six-month period it

expressly agreed to. In short, the equities clearly favor the Band, and courts

do not even need “to balance the equities in a case where the defendant’s

conduct has been willful.” Sierra Club v. Franklin Cnty. Power of Ill., LLC, 546

F.3d 918, 935 (7th Cir. 2008).

   Relying on the public interest prong of the injunction test, the district

court nonetheless issued an injunction giving Enbridge a transition period



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six times longer than the easements provide, based on concerns about the

energy markets. A95. But in determining whether the public interest is

served by an injunction, “a court sitting in equity cannot ignore the

judgment of Congress, deliberately expressed in legislation.” United States

v. Oakland Cannabis Buyers’ Coop., 532 U.S. 483, 497 (2001). Here, the Non-

Intercourse Act reflects Congress’ judgment that unlawful conveyances of

Indian land disserve the public interest. Indeed, while Congress has since

modified federal law to allow lands owned by individual Indians to be

condemned for public benefit, 25 U.S.C. §357, it has kept tribal lands

(including allotted lands in which a tribe has regained an interest) “beyond

the reach of condemnation,” regardless of economic benefit, Barboan, 857

F.3d at 1104, 1111-12. “When Congress passes a statute, it weighs the

competing public interests that would be served.” Michigan v. U.S. Army

Corps of Eng’rs, 758 F.3d 892, 901 (7th Cir. 2014). The district court was not

at liberty to let its own views about the public interest usurp those of

Congress.




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   2. The overheated arguments made by Enbridge and its amici about

market impacts cannot and do not alter that conclusion. Enbridge’s own

expert determined that, in the event of a shutdown, gas prices would

increase by less than a penny per gallon in Michigan and Wisconsin, and

only a nickel in Ontario. BA69-71. Enbridge (and the district court) simply

ignore(d) this. They also ignore the fact that, when Enbridge shut down

Line 6B after the Kalamazoo River disaster, there was no impact on gas

prices. R610 at 116:3-15.

   The district court asserted that the Band has told a “rosy story” of how

existing infrastructure will enable the market to offset nearly all the crude

oil conveyed by Line 5 within months. A95-97. However, the court’s

findings to the contrary are not just clearly erroneous, but utterly

bewildering. The court found it “wildly optimistic” to expect that capacity

on Line 78 (another Enbridge pipeline serving the same refineries) will be

filled if Line 5 is shut down. A96. But the Band was not alone in making

that prediction; that was also the opinion of Enbridge’s own expert. BA77:11-

20. The court separately described the Band’s account as hinging on



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reversing another Enbridge pipeline (Line 9) to get oil to the Quebec

refineries, A95, but that is an argument the Band has never made, because it is

nonsensical; Line 9 is one means by which those refineries currently get oil.

R388-2 at 25-26. Finally, the court described the Band’s narrative as

including moving oil by rail and truck out of Superior, Wisconsin, A95-97,

but that idea comes from a scenario presented in the report of an Enbridge

expert, which a Band expert rightly described as a “straw man argument”

and “not a scenario that would be seriously considered,” BA73. Delaying

vindication of the Band’s rights for years based on clearly erroneous factual

findings and the rejection of strawmen not only defies Congress’ clear

judgment and trivializes the Band’s sovereignty, but represents a serious

abuse of discretion. See Lovelace v. McKenna, 894 F.3d 845, 849 (7th Cir.

2018).11




11The court also found that while portable transloaders could be used to
unload railcars of propane, they would take “as much as four to six months
to even acquire.” A99. That might explain why a six-month transition
period would be useful, but not a three-year one.


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     3. Enbridge claims that the court erred in granting an injunction at all—

even one according it a three-year forced easement. By Enbridge’s account,

no amount of delay can be expected to reduce the impact of a Line 5

shutdown, because so long as Enbridge holds out the possibility of a re-

route, market players will not invest in alternatives. Enbridge.Br.46. The

irony of that argument is that it means a delayed injunction does not serve

market interests any better than an immediate one, in which case there is

again no warrant to delay vindication of the Band’s rights—unless, that is,

a court is willing to impose an indefinite and patently illegal forced

easement on the Band.

     That Enbridge challenges the exceedingly lenient injunction, but accepts

the “restitution” award as a reasonable cost of doing business , speaks

volumes about the inadequacy of the latter and underscores that what

Enbridge really seeks is a forced easement in perpetuity.12 But it is


12Enbridge does not dispute the district court’s finding that there is “little
realistic prospect” of Enbridge completing this re-route within five years, if
ever, A123, in light of concerns raised by federal agencies, the Band, and
other stakeholders about the environmental impact of Enbridge’s proposed
re-reroute path, A94.


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fundamental that “no one should be permitted to take land of another

merely because he is willing to pay a market price for it.” Dobbs on Remedies

§5.10(4), at 816. That would amount to the power of eminent domain—and

such power cannot be exercised without violating the Band’s sovereignty

and the unequivocal prohibitions of the Non-Intercourse Act.

   Enbridge’s cases do not indicate otherwise. While the Ninth Circuit

affirmed a delayed injunction in United States v. Pend Oreille County Public

Utility District No. 1, 135 F.3d 602, 614-15 (9th Cir. 1998), that case arose

under the Federal Power Act, which expressly allows FERC to authorize

the use of tribal lands for hydroelectric power projects without tribal consent.

See Escondido Mut. Water Co. v. La Jolla, Rincon, San Pasqual, Pauma, & Pala

Bands of Mission Indians, 466 U.S. 765, 787 & n.30 (1984). Here, by contrast,

the Band’s consent is required under both the Non-Intercourse Act and the

rights-of-way acts—which is why the relevant agency (the Bureau) has

already rejected Enbridge’s application to continue using Band lands. See

SA26-39.




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   Nor do Enbridge’s citations suggest that a court “may award money

damages for a trespass on tribal lands without issuing injunctive relief.”

Enbridge.Br.42-43. In Oneida County, the tribe raised only a claim for

damages. 470 U.S. at 229. In United States v. Santa Fe Pacific Railroad Co., the

utility quitclaimed the land at issue back to the United States, mooting the

issue of injunctive relief. 314 U.S. 339, 359-60 (1941). And in Swinomish

Indian Tribal Community v. BNSF Railway Co., the trespassing railroad

company—in sharp contrast to Enbridge—ceased violating its easement

during the litigation, mooting the claim for injunctive relief. 2022 WL

3597439, at *6, *11 (W.D. Wash. Aug. 22, 2022). These cases simply establish

that a court may award monetary relief to a tribe seeking it, not that it may

award such relief in lieu of an injunction.

      C.    Neither the Transit Treaty nor the Foreign Affairs Doctrine
            Precludes Injunctive Relief.

   1. Enbridge spills significant ink discussing the Transit Treaty, but it

ignores the more specific and earlier-in-time treaty that controls here: the

1854 Treaty, in which the United States guaranteed the Band the right not




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just to live on the Bad River Reservation, but to exercise sovereign

authority over it. A42-43.

   Given the “retain[ed] … sovereignty” of the “Indian tribes,” Reich v.

Great Lakes Indian Fish & Wildlife Comm’n, 4 F.3d 490, 493 (7th Cir. 1993),

courts “will not hold that Congress abrogated Indian treaty rights absent

unambiguous language to that effect,” Swinomish Indian Tribal Cmty. v.

BNSF Ry. Co., 951 F.3d 1142, 1160 (9th Cir. 2020). “There must be ‘clear

evidence that Congress actually considered the conflict between its

intended action on the one hand and Indian treaty rights on the other, and

chose to resolve that conflict by abrogating the treaty.’” Herrera, 139 S.Ct. at

1698 (quoting Mille Lacs Band, 526 U.S. at 202-03). That bedrock principle

precludes Enbridge’s (and Canada’s) argument that the Transit Treaty

guarantees Enbridge a right to operate its pipeline in trespass on the Band’s

land indefinitely. The Transit Treaty says nothing about Indian tribes or

Indian lands. No evidence suggests that the United States even perceived a

conflict between its agreement with Canada on the one hand and the 1854




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Treaty with the Band on the other—let alone resolved it by making a clear

choice to abrogate rights under the latter.

   That should be the end of the matter. Indeed, even if there were evidence

that the United States thought it was abrogating tribal rights in the Transit

Treaty—which neither Enbridge nor its amici claim—that still would not

help Enbridge. That is because the authority to impair Indian treaty rights

“belongs to Congress alone,” McGirt, 140 S.Ct. at 2462, and “[a] treaty is …

not a legislative act,” Lac Courte Oreilles Band, 46 F.4th at 565. And because

“only Congress” may “take actions that lessen tribal sovereignty,” id. at 557,

neither the President, nor the Senate, nor the two together can make or

ratify a treaty that operates of its own force to override tribal rights.

   Enbridge and Canada seek to evade this conclusion by arguing that the

Transit Treaty is self-executing. See Enbridge.Br.33.n.7; Canada.Br.12.n.13.

But that is irrelevant to whether the Treaty is endowed with both the

authority and the clarity to abrogate the Band’s rights (it is not). And in any

event, the Treaty is not self-executing. The argument to the contrary is

based on a single, conclusory statement by a single State Department



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official buried in an appendix to a Senate Committee Report. Whatever one

thinks about legislative history generally, that argument surely takes its

use to new lows, as making a treaty self-executing requires the agreement

of the President and two-thirds of the Senate, not a statement by single

official.

   What is more, it is not just the 1854 Treaty that Enbridge must

circumvent; Enbridge (again) ignores the federal rights-of-way statutes

governing Indian lands. See supra 9-10. Those statutes plainly require

Enbridge to obtain the Band’s consent for pipeline easements over tribal

land. See 25 U.S.C. §§321-324. The “Indian Right of Way Act applies to a

‘very specific situation’: the issuance of right-of-way easements that permit

third parties to use a tribe’s trust land, consistent with the conditions of

that agreement.” Swinomish, 951 F.3d at 1159. The Transit Treaty, on the

other hand, applies more broadly. That alone precludes Enbridge’s

sweeping reading of the treaty; even outside the Indian treaty context, “a

specific statute will not be controlled or nullified by a general one,




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regardless of the priority of the enactment.” Morton v. Mancari, 417 U.S.

535, 550-51 (1974).

   2. Even if the Transit Treaty applied here, it would not help Enbridge.

Enbridge contends that, under Article II of the Transit Treaty, U.S. courts

can never enjoin a transit pipeline from Canada “in any way”—no matter

how blatant a trespass or other violation. Enbridge.Br.32-34. That is a

breathtaking claim: If Enbridge were right, then any effort to enforce the

property rights of private parties, municipalities, tribes, or states would be

verboten—even when, as here, it rested on the plain terms of a freely

negotiated easement. That theory would convert a state’s or tribe’s

understandable effort to resist a re-routing through state parkland or

sacred tribal land into a breach of the United States’ treaty obligations.

   Only the clearest of text could support such a sweeping diminution of

state and tribal power. But the text of the Transit Treaty confirms exactly

the opposite: The United States and Canada made no such agreement.

   To be sure, Article II provides that “[n]o public authority in the territory

of either Party shall institute any measures … which are intended to, or



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which would have the effect of, impeding, diverting, redirecting or

interfering with in any way the transmission of hydrocarbons in transit.” 28

U.S.T. 7449, art. II, cl. 1, 1977 WL 181731 (Jan. 28, 1977). But Article IV—

which Enbridge simply ignores—confirms the limitations of that provision.

“Notwithstanding the provisions of Article II,” Article IV provides that “a

Transit Pipeline shall be subject to regulations by the appropriate

governmental authorities … in the same manner as for any other pipelines …

subject to the authority of such governmental authorities[,] with respect to

such matters as … [p]ipeline safety[,] … operation standards[, and]

environmental protection.” 28 U.S.T. 7449, art. IV, cl. 1 (emphasis added).

   This unequivocal language confirms the Band’s right to seek, and the

district court’s power to order, relief in this litigation. After all, “state

regulation can be as effectively exerted through an award of damages as

through some form of preventive relief.” Cipollone v. Liggett Grp. Inc., 505

U.S. 504, 521 (1992) (brackets omitted). And the Band seeks through this

suit to enforce a right to exclude that “is a hallmark of Indian sovereignty,”

Merrion, 455 U.S. at 141, and to protect the Bad River watershed and Lake



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Superior from environmental devastation—aims that square with the

illustrative list of acceptable regulatory purposes under Article IV.13

     As a last-ditch effort, Enbridge asserts that Article V “prohibits public

authorities from permanently shutting down transit pipelines.”

Enbridge.Br.34-35. But Article V speaks of temporary shutdowns because it

only addresses situations calling for them: “In the event of an actual or

threatened natural disaster, an operating emergency, or other

demonstrable need temporarily to reduce or stop … the normal operation

of a Transit Pipeline, the flow of hydrocarbons through such Transit

Pipeline may be temporarily reduced or stopped[.]” 28 U.S.T. 7449, art. V.

Language in a distinct article addressing a distinct situation does not

diminish the force of Article IV.14



13Neither Enbridge nor Canada argues that the injunction disfavors Line 5
because it is a transit pipeline. Nor could they; it imposes “requirements,
terms and conditions” in a nondiscriminatory fashion to redress Enbridge’s
tortious trespass—all in keeping with Article IV’s second clause. See 28
U.S.T. 7449, art. IV, cl. 11.
14The Treaty also provides no support for Canada’s argument that the
courts must short-circuit any domestic litigation touching on transit
pipelines. Article IX only governs the resolution of disputes between the


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   3. Finally, enjoining the operation of the pipeline does not violate the

“foreign affairs doctrine.” Contra Enbridge.Br.37-40; Trade.Unions.Br.4-12.

Under that “doctrine,” “state law must give way” to “federal executive

authority” where “there is evidence of clear conflict between the policies

adopted by the two.” Am. Ins. Ass’n v. Garamendi, 539 U.S. 396, 421 (2003)

(emphasis added); accord Crosby v. Nat’l Foreign Trade Council, 530 U.S. 363,

375-76 (2000).

   Nothing in Garamendi or Crosby suggests that a state or tribe cannot

enforce its clear rights under a contract or easement simply because doing

so inconveniences a foreign sovereign. Likewise, neither Enbridge nor its

amici cites any case holding that the “foreign affairs doctrine” displaces

federal courts’ authority to vindicate promises the United States has made to

Indian tribes, which are sovereigns themselves. Nor have they cited

evidence that the United States has disavowed its commitment to




United States and Canada. The Treaty contains no directive to the courts to
stay or divert litigation by tribes or any other entity to enforce their rights,
and that is fatal to Canada’s claim. See GE Energy Power Conversion France
SAS, Corp. v. Outokumpu Stainless USA, LLC, 140 S.Ct. 1637, 1645 (2020).


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enforcement of the Band’s sovereign rights. It goes without saying that

while Canada is vociferous in its belief that a conflict exists between the

Band’s rights and the Transit Treaty and that the Band’s rights must give

way, Canada does not speak for the United States.

IV.   The District Court Correctly Held That Continued Operation of the
      Pipeline Constitutes a Public Nuisance.

      A.    The Continued Operation of the Pipeline Is a Public
            Nuisance.

   “A public nuisance is defined as a substantial and unreasonable

interference with a right common to the general public.” Michigan v. U.S.

Army Corps of Eng’rs, 667 F.3d 765, 771 (7th Cir. 2011). The district court

found that a pipeline rupture at the meander not only “would

unquestionably be a substantial and unreasonable interference with the

Band’s and the public’s rights” but “is now ‘sufficiently close to occurring’

such that Enbridge must take new actions to abate the nuisance.” A104.

Enbridge disputes neither nuisance liability nor the court’s underlying

factual findings. That should be the end of the matter.




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   Enbridge nonetheless argues that the PSA displaces the Band’s claim

and that the Band is responsible for Enbridge’s nuisance in all events.

Enbridge is wrong on both counts.

      B.    The Pipeline Safety Act Does Not Displace the Nuisance
            Claim.

   The PSA expressly preserves common-law tort claims: “This chapter does

not affect the tort liability of any person.” 49 U.S.C. §60120(c). That clause

alone defeats Enbridge’s displacement theory.

   Despite (or perhaps because of) that clear text, Enbridge tries to rewrite

the statute. In Enbridge’s telling, the phrase “tort liability” in §60120(c)

refers only to “pecuniary obligation[s],” not “nonpecuniary remedies like

… injunctions.” Enbridge.Br.57 (emphasis omitted). But §60120(c) draws no

such distinction; it preserves all “tort liability,” no matter the remedy. And

courts “may not narrow a provision’s reach by inserting words Congress

chose to omit.” Lomax v. Ortiz-Marquez, 140 S.Ct. 1721, 1725 (2020). Doing

so here would be especially inappropriate given that Congress did

distinguish between “pecuniary obligation[s]” and nonpecuniary remedies

elsewhere in the statute. Compare 49 U.S.C. §60120(a)(1) (authorizing courts


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to “award appropriate relief, including a temporary or permanent

injunction, punitive damages, and assessment of civil penalties” in

enforcement actions brought by the Attorney General), with id. §60121(a)(1)

(authorizing courts to award only “injunction[s]” in private-party suits).

“The fact that Congress knows how to withdraw a particular remedy and

has not expressly done so is some indication of congressional intent to

preserve that remedy.” Burnett v. Bowen, 830 F.2d 731, 737 (7th Cir. 1987).

1987).

   Nothing in Sprietsma v. Mercury Marine, 537 U.S. 51 (2002), or United

States v. Locke, 529 U.S. 89 (2000), undermines that conclusion. Contra

Enbridge.Br.57-59. The plaintiff in Sprietsma sought only damages; so,

while the Court interpreted the phrase “liability at common law” to

encompass damages, it did not address whether that phrase excludes

injunctive relief. 537 U.S. at 54. Similarly, Locke simply assessed whether a

state regulation fell within a savings clause, not whether the clause was

limited to damages claims. 529 U.S. at 97-98.




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   Enbridge’s argument also flies in the face of this Court’s decision in

Michigan v. U.S. Army Corps of Engineers. Enbridge asserts that “[t]he PSA’s

delegation of authority over pipeline safety … to an expert agency” suffices

to establish displacement. Enbridge.Br.16. But Michigan rejected the notion

that “all Congress must do to displace federal law is … delegate a

particular problem to an executive agency.” 667 F.3d at 777. And the

provision Enbridge highlights merely authorizes the Secretary to issue

emergency orders redressing pipeline hazards “without prior notice or an

opportunity for a hearing.” 49 U.S.C. §60117(p)(1). That is hardly

redundant of an action to enjoin a public nuisance in federal court.

   This case is therefore far afield from those Enbridge invokes (at 50-51).

City of Milwaukee v. Illinois, 451 U.S. 304 (1981 ), involved a nuisance claim

seeking to impose specific effluent limitations on pollutant discharges. The

Court held that the Clean Water Act displaced that claim—not because the

Act broadly regulates water pollution, but because it subjects the

defendants to “specific effluent limitations,” leaving no room “for a federal

court to impose more stringent limitations [under] federal common law.”



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Id. at 319-20. Similarly, in American Electric Power Co. v. Connecticut, 564 U.S.

410 (2011), the Court found that the Clean Air Act displaced a nuisance

claim against power generators seeking “a decree setting carbon-dioxide

emissions for each defendant” because the statute provided “a means to

seek limits on emissions of carbon dioxide from domestic powerplants” on

precisely the same terms as sought by the plaintiffs’ nuisance claim, leaving

“no room for a parallel track.” Id. at 425.

     No comparable redundancy exists here. Nothing in the PSA “speaks

directly to the … nuisance about which the [Band is] complaining.”

Michigan, 667 F.3d at 780. It says nothing about the permissible distance

between a pipeline and a flood-prone river, or the appropriate relief in such

circumstances.15 To the contrary, the PSA explicitly “does not authorize the

Secretary of Transportation to prescribe the location or routing of a

pipeline facility,” 49 U.S.C. §60104(e), leaving that to other governments—


15The district court stated that Enbridge’s shutdown plan was approved by
PHMSA, A110, but it was confused. Enbridge developed three shutdown
plans during this litigation and has never suggested that they were subject
to PHMSA approval. E.g., R447 at 25 (“[T]his proposed plan is not
necessary to ‘comply with PHMSA’s regulatory guidance.’”).


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and the continued operation of Enbridge’s pipeline in the immediate

vicinity of the Bad River is the very nub of the Band’s claim.

   As this Court has made clear, “that Congress has not been mute on the

subject” is insufficient; “Congress must have spoken to the particular

question at issue” and “provided a sufficient legislative solution” in terms

that leave no room for common-law adjudication. Michigan, 667 F.3d at 777-

78. Congress has not done so here, instead choosing to preserve tort claims

and withhold federal authority over the location of pipelines. Those carve-

outs from the federal regulatory scheme eviscerate Enbridge’s

displacement argument.

      C.    Enbridge’s Disingenuous Efforts to Blame the Band Fail.

   Enbridge argues that relief from the nuisance should have been

precluded because the Band declined to authorize Enbridge to install

massive armoring projects to alter the Bad River’s course. But each of

Enbridge’s proposals through trial would have extended Enbridge’s trespass

by armoring the banks of a parcel directly adjacent to the meander and

held in trust for the Band and individual citizens, and many would have



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required substantial, destructive access with heavy equipment across

roadless Band and individual-Indian-owned parcels. A65; BA153-55; (R268-

3 at 183-84; R601 at 72:8-74:6; R606 at 39:11-40:21). Moreover, the district

court recognized that the Band’s rejections of Enbridge’s project proposals,

which would involve the discharge of thousands of cubic yards (roughly

the volume of 500 dump trucks) of material into the Bad River and adjacent

water resources, constituted a lawful exercise of the Band’s authority under

the Clean Water Act.16 A70. Enbridge cites no case holding that a party

engaged in a nuisance has an entitlement to trespass (more) on another’s

land, and to override the lawful exercise of regulatory authority, to attempt

its preferred method of abating the nuisance. This case should not be the

first.17




16The Band regulates water quality on the Reservation pursuant to its
inherent authority and an express delegation by Congress under the Clean
Water Act. See 81 Fed. Reg. 30,183 (2016); BA128-29.
17Enbridge’s argument is particularly galling since the district court
improperly held the Band’s refusal to acquiesce in Enbridge’s “remedy”-
cum-trespass against the Band in its equitable decisionmaking. A106-07;
contra Enbridge.Br.60-61.


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V.      The District Court’s Remedy Fails to Abate The Nuisance.

     While the district court correctly determined that Enbridge can no

longer be allowed to operate Line 5 unrestrained given the looming threat

of a catastrophic spill, it failed to order action “that will be effective to

abate the public nuisance.” Michigan, 667 F.3d at 781. The court adopted a

plan, largely based on an Enbridge submission, that calls for the pipeline to

be purged and then shut down when two criteria are satisfied in tandem:

river flows must be at least 10,500 cfs (or there must be a forecasted flow of

15,000 cfs); and the river erodes to within 5 feet of the pipeline at 2 separate

locations at least 20 feet apart. A110. That decree fails to guard against the

risk of a catastrophic rupture, and thus is an abuse of discretion, for two

independent (but closely related) reasons.

     First, based on the district court’s own factual findings, the plan allows

Enbridge to operate the pipeline right up to the brink of disaster, such that

it will be all but impossible for Enbridge to prevent a catastrophic rupture

once it finally does move to shut down the pipeline. The amount of bank

remaining between the river and pipeline at the closest point (11 feet) is



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now equivalent to the amount of bank lost in a single week last spring. A85.

The court found that it would take Enbridge 40 hours to purge the pipeline

of oil, and that “preparatory work required … to even begin a 40-hour

purge can itself take three to five days.” A105. The river is at a point, in

other words, where barely enough time might exist for Enbridge to purge

the pipeline and shut it down before pipeline exposure next spring. And, as

the court recognized, that “does not account for inevitable delays that

could occur due to weather conditions, supply and equipment problems

and human error.” A105.

   Yet far from requiring the pipeline to shut down during the next

flooding season, the court embraced a plan that will allow for erosion to

continue until only 5 feet of bank remain—barely more than that lost in a

single day at two locations last spring. BA95. The court never explained how

the 5-foot threshold can be squared with its findings on purge timing and

rate of bank loss. In its November 2022 order, when 26-27 feet remained,

the court expressed skepticism that the flooding event(s) necessary to erode

that amount of bank would also scour enough soil to leave the pipeline



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unsupported for a stretch exceeding its critical span length. A62-63. By its

June 2023 decision, however, with only 11 feet remaining, those doubts had

disappeared. “Even if the court assumes that Enbridge would activate its

shutdown and purge plan as soon as two backline [5-foot] monuments are

lost, the river could peak and recede more quickly than it did this spring,

resulting in ‘sloughing’ that exposes Line 5 to an unsupported span close to

60 or 100 feet before Enbridge is able to complete its preparatory work,

much less complete the actual purge.” A105.18 That finding is consistent

with testimony from Enbridge’s own expert that “a single flood could

result in both an initial pipeline exposure and free span of greater than 90

feet if the bank started at five feet from the pipeline,” R608 at 17:7-18:4, and

considerable evidence of pipelines being exposed to river forces and

rupturing in a single flood. See, e.g., R484-12 at I-2-I-6, I-12; R608 at 18:21-23.

      Second, the court’s order allows Enbridge to continue pumping oil,

no matter what amount of bank remains (or even if the pipeline is




18The Court found that the pipeline would likely rupture at a “critical
aerial span of approximately 100 feet.” A78-80.


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unsupported), unless river flows are at least 10,500 cfs (or a 15,000 cfs event

is forecasted). A108, A110. The district court’s blessing of this flow

requirement runs directly counter to its own finding that significant

erosion takes place at flows substantially below 10,500 cfs. “Generally, the

actual erosion of the riverbank does not occur while floodwaters are

peaking, but instead after the flood waters recede below the top of the

bank.” A88.19 While floodwaters carve away and soften the soil, the

pressure of the water can prevent bank sloughing or collapse until the

waters subside. A87-88. Events last spring place these realities in dramatic

relief, as large swaths of bank were lost at flows lower than 10,500 cfs. Id.;

BA95, 103; R660 at 3 (3-4 feet lost at two locations in 24 hours at 6,500 cfs

and below); BA98 (large block with tree collapsed at 4,000 cfs); BA92,

BA100 (21.5 feet lost between April 5 and May 5 when flows reached 10,500

cfs on just 5 days). And this is not a unique pattern. E.g., BA103 (5 feet lost

in one week in April 2020 with peak flow less than 8,000 cfs).




   19 The Bad River overtops banks at the meander at approximately 6,000
cfs. R268-3 at 177.


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   Neither the distance nor the flow thresholds imposed by the district

court can be reconciled, then, with its factual findings regarding the nature

and rate of bank loss and pipeline exposure. Far from erring on the side of

caution given the irreparable damage that a pipeline rupture would cause,

the district court entered an order that fails in its most basic task and

subjects the Band (and all concerned with the Bad River watershed and

Lake Superior) to a far greater risk of a pipeline rupture during the next

flooding season “than a reasonable man would incur.” Michigan, 667 F.3d

at 781. The court’s adoption of Enbridge’s shutdown plan (as slightly

modified) instead of a purge and shutdown prior to the commencement of

the spring flooding season constitutes a grave abuse of discretion that

could lead to catastrophic consequences. It cannot stand.




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                               CONCLUSION

   The Court should affirm the decision holding Enbridge liable for

conscious trespass and public nuisance. It should vacate the trespass

remedy and instruct the district court to order Enbridge to cease its

trespass and disgorge its profits. And it should vacate the nuisance remedy

and instruct the district court to abate the nuisance.




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Dated: October 11, 2023
                                                  Respectfully Submitted,

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                    CERTIFICATE OF COMPLIANCE
                   WITH TYPE-VOLUME LIMITATION

      1. This brief complies with the type-volume limitation of Fed. R. App.

P. 32(a)(7)(B), Circuit Rule 32(c), and this Court’s Order granting the Band’s

motion to file an oversize brief, ECF 36, because the brief contains 18,976

words, excluding the parts of the brief exempted from the word count by

Fed. R. App. P. 32(f).

      2. This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the typestyle requirements of Fed. R. App. P. 32(a)(6)

because the Brief has been prepared in a proportionally spaced typeface

using Microsoft Word in 14-point Palatino Linotype font.




October 11, 2023


                                                s/Riyaz A. Kanji
                                                Riyaz A. Kanji
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     CERTIFICATE OF COMPLIANCE WITH CIRCUIT RULE 30(d)

   Pursuant to Circuit Rule 30(d), counsel certifies that all materials

required by Circuit Rule 30(a) and (b) are included in the appendix bound

with Enbridge’s brief and the separate appendix filed with this brief. See

Circuit Rule 30(c).




October 11, 2023


                                                 s/Riyaz A. Kanji
                                                 Riyaz A. Kanji
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               Treaty with the Chippewa, 10 Stat. 1109 (Sept. 30, 1854)

Articles of a treaty made and concluded at La Pointe, in the State of Wisconsin, between
Henry C. Gilbert and David B. Herriman, commissioners on the part of the United States,
and the Chippewa Indians of Lake Superior and the Mississippi, by their chiefs and head-
men.

                                       ARTICLE 1

The Chippewas of Lake Superior hereby cede to the United States all the lands heretofore
owned by them in common with the Chippewas of the Mississippi, lying east of the
following boundary-line, to wit: Beginning at a point, where the east branch of Snake
River crosses the southern boundary-line of the Chippewa country, running thence up the
said branch to its source, thence nearly north, in a straight line, to the mouth of East
Savannah River, thence up the St. Louis River to the mouth of East Swan River, thence
up the East Swan River to its source, thence in a straight line to the most westerly bend of
Vermillion River, and thence down the Vermillion River to its mouth.

The Chippewas of the Mississippi hereby assent and agree to the foregoing cession, and
consent that the whole amount of the consideration money for the country ceded above,
shall be paid to the Chippewas of Lake Superior, and in consideration thereof the
Chippewas of Lake Superior hereby relinquish to the Chippewas of the Mississippi, all
their interest in and claim to the lands heretofore owned by them in common, lying west
of the above boundary-line.

                                       ARTICLE 2

The United States agree to set apart and withhold from sale, for the use of the Chippewas
of Lake superior, the following described tracts of land, viz:

1st. For the L'Anse and Vieux De Sert bands, all the unsold lands in the following
townships in the State of Michigan: Township fifty-one north range thirty-three west;
township fifty-one north range thirty-two west; the east half of township fifty north range
thirty-three west; the west half of township fifty north range thirty-two west, and all of
township fifty-one north range thirty-one west, lying west of Huron Bay.

2d. For the La Pointe band, and such other Indians as may see fit to settle with them, a
tract of land bounded as follows: Beginning on the south shore of Lake Superior, a few
miles west of Montreal River, at the mouth of a creek called by the Indians Ke-che-se-be-
we-she, running thence south to a line drawn east and west through the centre of
township forty-seven north, thence west to the west line of said township, thence south to
the southeast corner of township forty-six north, range thirty-two west, thence west the
width of two townships, thence north the width of two townships, thence west one mile,
thence north to the lake shore, and thence along the lake shore, crossing Shag-waw-me-


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quon Point, to the place of beginning. Also two hundred acres on the northern extremity
of Madeline Island, for a fishing ground.

3d. For the other Wisconsin bands, a tract of land lying about Lac De Flambeau, and
another tract on Lac Court Orielles, each equal in extent to three townships, the
boundaries of which shall be hereafter agreed upon or fixed under the direction of the
President.

4th. For the Fond Du Lac bands, a tract of land bounded as follows: Beginning at an
island in the St. Louis River, above Knife Portage, called by the Indians Paw-paw-sco-
me-me-tig, running thence west to the boundary-line heretofore described, thence north
along said boundary-line to the mouth of Savannah River, thence down the St. Louis
River to the place of beginning. And if said tract shall contain less than one hundred
thousand acres, a strip of land shall be added on the south side thereof, large enough to
equal such deficiency.

5th. For the Grand Portage band, a tract of land bounded as follows: Beginning at a rock
a little east of the eastern extremity of Grand Portage Bay, running thence along the lake
shore to the mouth of a small stream called by the Indians Maw-ske-gwaw-caw-maw-se-
be, or Cranberry Marsh River, thence up said stream, across the point to Pigeon River,
thence down Pigeon River to a point opposite the starting-point, and thence across to the
place of beginning.

6th. The Ontonagon band and that subdivision of the La Pointe band of which Buffalo is
chief, may each select, on or near the lake shore, four sections of land, under the direction
of the President, the boundaries of which shall be defined hereafter. And being desirous
to provide for some of his connections who have rendered his people important services,
it is agreed that the chief Buffalo may select one section of land, at such place in the
ceded territory as he may see fit, which shall be reserved for that purpose, and conveyed
by the United States to such person or persons as he may direct.

7th. Each head of a family, or single person over twenty-one years of age at the present
time of the mixed bloods, belonging to the Chippewas of Lake Superior, shall be entitled
to eighty acres of land, to be selected by them under the direction of the President, and
which shall be secured to them by patent in the usual form.

                                       ARTICLE 3

The United States will define the boundaries of the reserved tracts, whenever it may be
necessary, by actual survey, and the President may, from time to time, at his discretion,
cause the whole to be surveyed, and may assign to each head of a family or single person
over twenty-one years of age, eighty acres of land for his or their separate use; and he
may, at his discretion, as fast as the occupants become capable of transacting their own
affairs, issue patents therefor to such occupants, with such restrictions of the power of


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alienation as he may see fit to impose. And he may also, at his discretion, make rules and
regulations, respecting the disposition of the lands in case of the death of the head of a
family, or single person occupying the same, or in case of its abandonment by them. And
he may also assign other lands in exchange for mineral lands, if any such are found in the
tracts herein set apart. And he may also make such changes in the boundaries of such
reserved tracts or otherwise, as shall be necessary to prevent interference with any vested
rights. All necessary roads, highways, and railroads, the lines of which may run through
any of the reserved tracts, shall have the right of way through the same, compensation
being made therefor as in other cases.

                                       ARTICLE 4

In consideration of and payment for the country hereby ceded, the United States agree to
pay to the Chippewas of Lake Superior, annually, for the term of twenty years, the
following sums, to wit: five thousand dollars in coin; eight thousand dollars in goods,
household furniture and cooking utensils; three thousand dollars in agricultural
implements and cattle, carpenter's and other tools and building materials, and three
thousand dollars for moral and educational purposes, of which last sum, three hundred
dollars per annum shall be paid to the Grand Portage band, to enable them to maintain a
school at their village. The United States will also pay the further sum of ninety thousand
dollars, as the chiefs in open council may direct, to enable them to meet their present just
engagements. Also the further sum of six thousand dollars, in agricultural implements,
household furniture, and cooking utensils, to be distributed at the next annuity payment,
among the mixed bloods of said nation. The United States will also furnish two hundred
guns, one hundred rifles, five hundred beaver-traps, three hundred dollars' worth of
ammunition, and one thousand dollars' worth of ready-made clothing, to be distributed
among the young men of the nation, at the next annuity payment.

                                       ARTICLE 5

The United States will also furnish a blacksmith and assistant, with the usual amount of
stock, during the continuance of the annuity payments, and as much longer as the
President may think proper, at each of the points herein set apart for the residence of the
Indians, the same to be in lieu of all the employees to which the Chippewas of Lake
Superior may be entitled under previous existing treaties.

                                       ARTICLE 6

The annuities of the Indians shall not be taken to pay the debts of individuals, but
satisfaction for depredations committed by them shall be made by them in such manner
as the President may direct.




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                                        ARTICLE 7

No spirituous liquors shall be made, sold, or used on any of the lands herein set apart for
the residence of the Indians, and the sale of the same shall be prohibited in the Territory
hereby ceded, until otherwise ordered by the President.

                                        ARTICLE 8

It is agreed, between the Chippewas of Lake Superior and the Chippewas of the
Mississippi, that the former shall be entitled to two-thirds, and the latter to one-third, of
all benefits to be derived from former treaties existing prior to the year 1847.

                                        ARTICLE 9

The United States agree that an examination shall be made, and all sums that may be
found equitably due to the Indians, for arrearages of annuity or other thing, under the
provisions of former treaties, shall be paid as the chiefs may direct.

                                        ARTICLE 10

All missionaries, and teachers, and other persons of full age, residing in the territory
hereby ceded, or upon any of the reservations hereby made by authority of law, shall be
allowed to enter the land occupied by them at the minimum price whenever the surveys
shall be completed to the amount of one quarter-section each.

                                        ARTICLE 11

All annuity payments to the Chippewas of Lake Superior, shall hereafter be made at
L'Anse, La Pointe, Grand Portage, and on the St. Louis River; and the Indians shall not
be required to remove from the homes hereby set apart for them. And such of them as
reside in the territory hereby ceded, shall have the right to hunt and fish therein, until
otherwise ordered by the President.

                                        ARTICLE 12

In consideration of the poverty of the Bois Forte Indians who are parties to this treaty,
they having never received any annuity payments, and of the great extent of that part of
the ceded country owned exclusively by them, the following additional stipulations are
made for their benefit. The United States will pay the sum of ten thousand dollars, as
their chiefs in open council may direct, to enable them to meet their present just
engagements. Also the further sum of ten thousand dollars, in five equal annual
payments, in blankets, cloth, nets, guns, ammunition, and such other articles of necessity
as they may require.




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They shall have the right to select their reservation at any time hereafter, under the
direction of the President; and the same may be equal in extent, in proportion to their
numbers, to those allowed the other bands, and be subject to the same provisions.

They shall be allowed a blacksmith, and the usual smithshop supplies, and also two
persons to instruct them in farming, whenever in the opinion of the President it shall be
proper, and for such length of time as he shall direct.

It is understood that all Indians who are parties to this treaty, except the Chippewas of the
Mississippi, shall hereafter be known as the Chippewas of Lake Superior. Provided, That
the stipulation by which the Chippewas of Lake Superior relinquishing their right to land
west of the boundary-line shall not apply to the Bois Forte band who are parties to this
treaty.

                                       ARTICLE 13

This treaty shall be obligatory on the contracting parties, as soon as the same shall be
ratified by the President and Senate of the United States.

In testimony whereof, the said Henry C. Gilbert, and the said David B. Herriman,
commissioners as aforesaid, and the undersigned chiefs and headmen of the Chippewas
of Lake Superior and the Mississippi, have hereunto set their hands and seals, at the place
aforesaid, this thirtieth day of September, one thousand eight hundred and fifty-four.

…




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 Agreement Between the Government of the United States and the Government of
 Canada Concerning Transit Pipelines, 28 U.S.T. 7449, 1997 WL 181731 (Jan. 28,
                                    1977)

The Government of the United States of America and the Government of Canada,

Believing that pipelines can be an efficient, economical and safe means of transporting
hydrocarbons from producing areas to consumers, in both the United States and Canada;

Noting the number of hydrocarbon pipelines which now connect the United States and
Canada and the important service which they render in transporting hydrocarbons to
consumers in both countries; and

Convinced that measures to ensure the uninterrupted transmission by pipeline through the
territory of one Party of hydrocarbons not originating in the territory of that Party, for
delivery to the territory of the other Party, are the proper subject of an agreement between
the two Governments;

Have agreed as follows:

                                         ARTICLE I

For the purpose of this Agreement:

   (a) “Transit Pipeline” means a pipeline or any part thereof, including pipe, valves and
   other appurtenances attached to pipe, compressor or pumping units, metering stations,
   regulator stations, delivery stations, loading and unloading facilities, storage facilities,
   tanks, fabricated assemblies, reservoirs, racks, and all real and personal property and
   works connected therewith, used for the transmission of hydrocarbons in transit.
   “Transit Pipeline” shall not include any portion of a pipeline system not used for the
   transmission of hydrocarbons in transit.

   (b) “Hydrocarbons” means any chemical compounds composed primarily of carbon
   and hydrogen which are recovered from a natural reservoir in a solid, semi-solid,
   liquid or gaseous state, including crude oil, natural gas, natural gas liquids and
   bitumen, and their derivative products resulting from their production, processing or
   refining. In addition, “hydrocarbons” includes coal and feedstocks derived from crude
   oil, natural gas, natural gas liquids or coal used for the production of petro-chemicals.

   (c) “Hydrocarbons in transit” means hydrocarbons transmitted in a “Transit Pipeline”
   located within the territory of one Party, which hydrocarbons do not originate in the
   territory of that Party, for delivery to, or for storage before delivery to, the territory of
   the other Party.




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                                        ARTICLE II

1. No public authority in the territory of either Party shall institute any measures, other
than those provided for in Article V, which are intended to, or which would have the
effect of, impeding, diverting, redirecting or interfering with in any way the transmission
of hydrocarbons in transit.

2. The provisions of paragraph 1 of this Article apply:

   (a) In the case of Transit Pipelines carrying exclusively hydrocarbons in transit, to
   such volumes as may be transmitted to the Party of destination in the Transit Pipeline;

   (b) In the case of Transit Pipelines in operation at the time of entry into force of this
   Agreement not carrying exclusively hydrocarbons in transit, to the average daily
   volume of hydrocarbons in transit transmitted to the Party of destination during the 12
   month period immediately prior to the imposition of any measures described in
   paragraph 1;

   (c) In the case of Transit Pipelines which come into operation subsequent to the entry
   into force of this Agreement not carrying exclusively hydrocarbons in transit, to such
   volumes of hydrocarbons in transit as may be authorized by the appropriate regulatory
   bodies; or

   (d) To such other volumes of hydrocarbons in transit as may be agreed upon
   subsequently by the Parties.

3. Each Party undertakes to facilitate the expeditious issuance of such permits, licenses,
or other authorizations as may be required from time to time for the import into, or export
from, its territory through a Transit Pipeline of hydrocarbons in transit.

                                       ARTICLE III

1. No public authority in the territory of either Party shall impose any fee, duty, tax or
other monetary charge, either directly or indirectly, on or for the use of any Transit
Pipeline unless such fee, duty, tax or other monetary charge would also be applicable to
or for the use of similar pipelines located within the jurisdiction of that public authority.

2. No public authority in the territory of either Party shall impose upon hydrocarbons in
transit any import, export or transit fee, duty, tax or other monetary charge. This
paragraph shall not preclude the inclusion of hydrocarbon throughput as a factor in the
calculation of taxes referred to in paragraph 1.

                                       ARTICLE IV




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1. Notwithstanding the provisions of Article II and paragraph 2 of Article III, a Transit
Pipeline and the transmission of hydrocarbons through a Transit Pipeline shall be subject
to regulations by the appropriate governmental authorities having jurisdiction over such
Transit Pipeline in the same manner as for any other pipelines or the transmission of
hydrocarbons by pipeline subject to the authority of such governmental authorities with
respect to such matters as the following:

   a. Pipeline safety and technical pipeline construction and operation standards;

   b. environmental protection;

   c. rates, tolls, tariffs and financial regulations relating to pipelines;

   d. reporting requirements, statistical and financial information concerning pipeline
   operations and information concerning valuation of pipeline properties.

2. All regulations, requirements, terms and conditions imposed under paragraph 1 shall
be just and reasonable, and shall always, under substantially similar circumstances with
respect to all hydrocarbons transmitted in similar pipelines, other than intra-provincial
and intra-state pipelines, be applied equally to all persons and in the same manner.

                                         ARTICLE V

1. In the event of an actual or threatened natural disaster, an operating emergency, or
other demonstrable need temporarily to reduce or stop for safety or technical reasons the
normal operation of a Transit Pipeline, the flow of hydrocarbons through such Transit
Pipeline may be temporarily reduced or stopped in the interest of sound pipeline
management and operational efficiency by or with the approval of the appropriate
regulatory authorities of the Party in whose territory such disaster, emergency or other
demonstrable need occurs.

2. Whenever a temporary reduction of the flow of hydrocarbons through a Transit
Pipeline occurs as provided in paragraph 1:

   (a) In the case of a Transit Pipeline carrying exclusively hydrocarbons in transit, the
   Party for whose territory such hydrocarbons are intended shall be entitled to receive
   the total amount of the reduced flow of hydrocarbons,

   (b) In the case of a Transit Pipeline not carrying exclusively hydrocarbons in transit,
   each Party shall be entitled to receive downstream of the point of interruption a
   proportion of the reduced flow of hydrocarbons equal to the proportion of its net
   inputs to the total inputs to the Transit Pipeline made upstream of the point of
   interruption. If the two Parties are able collectively to make inputs to the Transit
   Pipeline upstream of the point of interruption, for delivery downstream of the point of
   interruption, of a volume of hydrocarbons which exceeds the temporarily reduced


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   capacity of such Transit Pipeline, each Party shall be entitled to transmit through such
   Transit Pipeline a proportion of the total reduced capacity equal to its authorized share
   of the flow of hydrocarbons through such Transit Pipeline prior to the reduction. If no
   share has been authorized, specified or agreed upon pursuant to Article II, paragraph
   2, the share of the Parties in the reduced flow of hydrocarbons shall be in proportion
   to the share of each Party's net inputs to the total flow of hydrocarbons through such
   Transit Pipeline during the 30 day period immediately preceding the reduction.

3. The Party in whose territory the disaster, emergency or other demonstrable need occurs
resulting in a temporary reduction or stoppage of the flow of hydrocarbons shall not
unnecessarily delay or cause delay in the expeditious restoration of normal pipeline
operations.

                                       ARTICLE VI

Nothing in this Agreement shall be considered as waiving the right of either Party to
withhold consent, or to grant consent subject to such terms and conditions as it may
establish consistent with the principles of uninterrupted transmission and of non-
discrimination reflected in this Agreement, for the construction and operation on its
territory of any Transit Pipeline construction of which commences subsequent to the
entry into force of this Agreement, or to determine the route within its territory of such a
Transit Pipeline.

                                       ARTICLE VII

The Parties may, by mutual agreement, conclude a protocol or protocols to this
Agreement concerning the application of this Agreement to a specific pipeline or
pipelines.

                                      ARTICLE VIII

The Parties may, by mutual agreement, amend this Agreement at any time.

                                       ARTICLE IX

1. Any dispute between the Parties regarding the interpretation, application or operation
of this Agreement shall, so far as possible, be settled by negotiation between them.

2. Any such dispute which is not settled by negotiation shall be submitted to arbitration at
the request of either Party. Unless the Parties agree on a different procedure within a
period of sixty days from the date of receipt by either Party from the other of a notice
through diplomatic channels requesting arbitration of the dispute, the arbitration shall
take place in accordance with the following provisions. Each Party shall nominate an
arbitrator within a further period of sixty days. The two arbitrators nominated by the
Parties shall within a further period of sixty days appoint a third arbitrator. If either Party


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fails to nominate an arbitrator within the period specified, or if the third arbitrator is not
appointed within the period specified, either Party may request the President of the
International Court of Justice (or, if the President is a national of either Party, the member
of the Court ranking next in order of precedence who is not a national of either Party) to
appoint such arbitrator. The third arbitrator shall not be a national of either Party, shall
act as Chairman and shall determine where the arbitration shall be held.

3. The arbitrators appointed under the preceding paragraph shall decide any dispute,
including appropriate remedies, by majority. Their decision shall be binding on the
Parties.

4. The costs of any arbitration shall be shared equally between the Parties.

                                       ARTICLE X

1. This Agreement is subject to ratification. Instruments of Ratification shall be
exchanged at Ottawa.

2. This Agreement shall enter into force on the first day of the month following the
month in which Instruments of Ratification are exchanged.

3. This Agreement shall remain in force for an initial period of thirty-five years. It may be
terminated at the end of the initial thirty-five year period by either Party giving written
notice to the other Party, not less than ten years prior to the end of such initial period, of
its intention to terminate this Agreement. If neither Party has given such notice of
termination, this Agreement will thereafter continue in force automatically until ten years
after either Party has given written notice to the other Party of its intention to terminate
the Agreement.

IN WITNESS WHEREOF the undersigned representatives, duly authorized by their
respective Governments, have signed this Agreement.

DONE in duplicate at Washington in the English and French languages, both versions
being equally authentic, this twenty-eighth day of January 1977.

FOR THE GOVERNMENT OF THE UNITED STATES OF AMERICA:

(Signature)

Julius L. Katz

FOR THE GOVERNMENT OF CANADA:

(Signature)

J. H. Warren

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                                      5 U.S.C. §558

§558. Imposition of sanctions; determination of applications for licenses; suspension,
revocation, and expiration of licenses

   (a) This section applies, according to the provisions thereof, to the exercise of a power
   or authority.

   (b) A sanction may not be imposed or a substantive rule or order issued except within
   jurisdiction delegated to the agency and as authorized by law.

   (c) When application is made for a license required by law, the agency, with due
   regard for the rights and privileges of all the interested parties or adversely affected
   persons and within a reasonable time, shall set and complete proceedings required to
   be conducted in accordance with sections 556 and 557 of this title or other
   proceedings required by law and shall make its decision. Except in cases of
   willfulness or those in which public health, interest, or safety requires otherwise, the
   withdrawal, suspension, revocation, or annulment of a license is lawful only if, before
   the institution of agency proceedings therefor, the licensee has been given--

      (1) notice by the agency in writing of the facts or conduct which may warrant the
      action; and

      (2) opportunity to demonstrate or achieve compliance with all lawful
      requirements.

When the licensee has made timely and sufficient application for a renewal or a new
license in accordance with agency rules, a license with reference to an activity of a
continuing nature does not expire until the application has been finally determined by the
agency.




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                                        5 U.S.C. §559

§559. Effect on other laws; effect of subsequent statute

This subchapter, chapter 7, and sections 1305, 3105, 3344, 4301(2)(E), 5372, and 7521 of
this title, and the provisions of section 5335(a)(B) of this title that relate to administrative
law judges, do not limit or repeal additional requirements imposed by statute or otherwise
recognized by law. Except as otherwise required by law, requirements or privileges
relating to evidence or procedure apply equally to agencies and persons. Each agency is
granted the authority necessary to comply with the requirements of this subchapter
through the issuance of rules or otherwise. Subsequent statute may not be held to
supersede or modify this subchapter, chapter 7, sections 1305, 3105, 3344, 4301(2)(E),
5372, or 7521 of this title, or the provisions of section 5335(a)(B) of this title that relate
to administrative law judges, except to the extent that it does so expressly.




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                                      25 U.S.C. §177

§177. Purchases or grants of lands from Indians

No purchase, grant, lease, or other conveyance of lands, or of any title or claim thereto,
from any Indian nation or tribe of Indians, shall be of any validity in law or equity, unless
the same be made by treaty or convention entered into pursuant to the Constitution. Every
person who, not being employed under the authority of the United States, attempts to
negotiate such treaty or convention, directly or indirectly, or to treat with any such nation
or tribe of Indians for the title or purchase of any lands by them held or claimed, is liable
to a penalty of $1,000. The agent of any State who may be present at any treaty held with
Indians under the authority of the United States, in the presence and with the approbation
of the commissioner of the United States appointed to hold the same, may, however,
propose to, and adjust with, the Indians the compensation to be made for their claim to
lands within such State, which shall be extinguished by treaty.




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                                      25 U.S.C. §321

§321. Rights-of-way for pipe lines

The Secretary of the Interior is authorized and empowered to grant a right-of-way in the
nature of an easement for the construction, operation, and maintenance of pipe lines for
the conveyance of oil and gas through any Indian reservation, through any lands held by
an Indian tribe or nation in the former Indian Territory, through any lands reserved for an
Indian agency or Indian school, or for other purpose in connection with the Indian
Service, or through any lands which have been allotted in severalty to any individual
Indian under any law or treaty, but which have not been conveyed to the allottee with full
power of alienation upon the terms and conditions herein expressed. Before title to rights
of way applied for hereunder shall vest, maps of definite location shall be filed with and
approved by the Secretary of the Interior: Provided, That before such approval the
Secretary of the Interior may, under such rules and regulations as he may prescribe, grant
temporary permits revocable in his discretion for the construction of such lines: Provided,
That the construction of lateral lines from the main pipe line establishing connection with
oil and gas wells on the individual allotments of citizens may be constructed without
securing authority from the Secretary of the Interior and without filing maps of definite
location, when the consent of the allottee upon whose lands oil or gas wells may be
located and of all other allottees through whose lands said lateral pipe lines may pass has
been obtained by the pipe-line company: Provided further, That in case it is desired to
run a pipe line under the line of any railroad, and satisfactory arrangements cannot be
made with the railroad company, then the question shall be referred to the Secretary of
the Interior, who shall prescribe the terms and conditions under which the pipe-line
company shall be permitted to lay its lines under said railroad. The compensation to be
paid the tribes in their tribal capacity and the individual allottees for such right of way
through their lands shall be determined in such manner as the Secretary of the Interior
may direct, and shall be subject to his final approval. And where such lines are not
subject to State or Territorial taxation the company or owner of the line shall pay to the
Secretary of the Interior, for the use and benefit of the Indians, such annual tax as he may
designate, not exceeding $5 for each ten miles of line so constructed and maintained
under such rules and regulations as said Secretary may prescribe. But nothing herein
contained shall be so construed as to exempt the owners of such lines from the payment
of any tax that may be lawfully assessed against them by either State, Territorial, or
municipal authority. And incorporated cities and towns into and through which such pipe
lines may be constructed shall have the power to regulate the manner of construction
therein, and nothing herein contained shall be so construed as to deny the right of
municipal taxation in such towns and cities, and nothing herein shall authorize the use of
such right of way except for pipe line, and then only so far as may be necessary for its
construction, maintenance, and care: Provided, That the rights herein granted shall not
extend beyond a period of twenty years: Provided further, That the Secretary of the
Interior, at the expiration of said twenty years, may extend the right to maintain any pipe


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line constructed under this section for another period not to exceed twenty years from the
expiration of the first right, upon such terms and conditions as he may deem proper. The
right to alter, amend, or repeal this section is expressly reserved.




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                                      25 U.S.C. §323

§323. Rights-of-way for all purposes across any Indian lands

The Secretary of the Interior be, and he is empowered to grant rights-of-way for all
purposes, subject to such conditions as he may prescribe, over and across any lands now
or hereafter held in trust by the United States for individual Indians or Indian tribes,
communities, bands, or nations, or any lands now or hereafter owned, subject to
restrictions against alienation, by individual Indians or Indian tribes, communities, bands,
or nations, including the lands belonging to the Pueblo Indians in New Mexico, and any
other lands heretofore or hereafter acquired or set aside for the use and benefit of the
Indians.




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                                      25 U.S.C. §324

§324. Consent of certain tribes; consent of individual Indians

No grant of a right-of-way over and across any lands belonging to a tribe organized under
the Act of June 18, 1934 (48 Stat. 984), as amended; the Act of May 1, 1936 (49 Stat.
1250); or the Act of June 26, 1936 (49 Stat. 1967), shall be made without the consent of
the proper tribal officials. Rights-of-way over and across lands of individual Indians may
be granted without the consent of the individual Indian owners if (1) the land is owned by
more than one person, and the owners or owner of a majority of the interests therein
consent to the grant; (2) the whereabouts of the owner of the land or an interest therein
are unknown, and the owners or owner of any interests therein whose whereabouts are
known, or a majority thereof, consent to the grant; (3) the heirs or devisees of a deceased
owner of the land or an interest therein have not been determined, and the Secretary of
the Interior finds that the grant will cause no substantial injury to the land or any owner
thereof; or (4) the owners of interests in the land are so numerous that the Secretary finds
it would be impracticable to obtain their consent, and also finds that the grant will cause
no substantial injury to the land or any owner thereof.




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                                     49 U.S.C. §60104

§60104. Requirements and limitations

   (a) Opportunity to present views.--The Secretary of Transportation shall give an
   interested person an opportunity to make oral and written presentations of
   information, views, and arguments when prescribing a standard under this chapter.

   (b) Nonapplication.--A design, installation, construction, initial inspection, or initial
   testing standard does not apply to a pipeline facility existing when the standard is
   adopted.

   (c) Preemption.--A State authority that has submitted a current certification under
   section 60105(a) of this title may adopt additional or more stringent safety standards
   for intrastate pipeline facilities and intrastate pipeline transportation only if those
   standards are compatible with the minimum standards prescribed under this chapter.
   A State authority may not adopt or continue in force safety standards for interstate
   pipeline facilities or interstate pipeline transportation. Notwithstanding the preceding
   sentence, a State authority may enforce a requirement of a one-call notification
   program of the State if the program meets the requirements for one-call notification
   programs under this chapter or chapter 61.

   (d) Consultation.--

      (1) When continuity of gas service is affected by prescribing a standard or waiving
      compliance with standards under this chapter, the Secretary of Transportation shall
      consult with and advise the Federal Energy Regulatory Commission or a State
      authority having jurisdiction over the affected gas pipeline facility before
      prescribing the standard or waiving compliance. The Secretary shall delay the
      effective date of the standard or waiver until the Commission or State authority
      has a reasonable opportunity to grant an authorization it considers necessary.

      (2) In a proceeding under section 3 or 7 of the Natural Gas Act (15 U.S.C. 717b or
      717f), each applicant for authority to import natural gas or to establish, construct,
      operate, or extend a gas pipeline facility subject to an applicable safety standard
      shall certify that it will design, install, inspect, test, construct, operate, replace, and
      maintain a gas pipeline facility under those standards and plans for inspection and
      maintenance under section 60108 of this title. The certification is binding on the
      Secretary of Energy and the Commission except when an appropriate enforcement
      agency has given timely written notice to the Commission that the applicant has
      violated a standard prescribed under this chapter.

   (e) Location and routing of facilities.--This chapter does not authorize the Secretary
   of Transportation to prescribe the location or routing of a pipeline facility.


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                                  49 U.S.C. §60117(p)

§60117. Administrative

   (p) Emergency order authority.--

      (1) In general.--If the Secretary determines that an unsafe condition or practice, or
      a combination of unsafe conditions and practices, constitutes or is causing an
      imminent hazard, the Secretary may issue an emergency order described in
      paragraph (3) imposing emergency restrictions, prohibitions, and safety measures
      on owners and operators of gas or hazardous liquid pipeline facilities without prior
      notice or an opportunity for a hearing, but only to the extent necessary to abate the
      imminent hazard.

      (2) Considerations.--

         (A) In general.--Before issuing an emergency order under paragraph (1), the
         Secretary shall consider, as appropriate, the following factors:

             (i) The impact of the emergency order on public health and safety.

             (ii) The impact, if any, of the emergency order on the national or regional
             economy or national security.

             (iii) The impact of the emergency order on the ability of owners and
             operators of pipeline facilities to maintain reliability and continuity of
             service to customers.

         (B) Consultation.--In considering the factors under subparagraph (A), the
         Secretary shall consult, as the Secretary determines appropriate, with
         appropriate Federal agencies, State agencies, and other entities knowledgeable
         in pipeline safety or operations.

      (3) Written order.--An emergency order issued by the Secretary pursuant to
      paragraph (1) with respect to an imminent hazard shall contain a written
      description of--

         (A) the violation, condition, or practice that constitutes or is causing the
         imminent hazard;

         (B) the entities subject to the order;

         (C) the restrictions, prohibitions, or safety measures imposed;

         (D) the standards and procedures for obtaining relief from the order;



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   (E) how the order is tailored to abate the imminent hazard and the reasons the
   authorities under section 60112 and subsection (m) are insufficient to do so;
   and

   (F) how the considerations were taken into account pursuant to paragraph (2).

(4) Opportunity for review.--Upon receipt of a petition for review from an entity
subject to, and aggrieved by, an emergency order issued under this subsection, the
Secretary shall provide an opportunity for a review of the order under section 554
of title 5 to determine whether the order should remain in effect, be modified, or
be terminated.

(5) Expiration of effectiveness order.--If a petition for review of an emergency
order is filed under paragraph (4) and an agency decision with respect to the
petition is not issued on or before the last day of the 30-day period beginning on
the date on which the petition is filed, the order shall cease to be effective on such
day, unless the Secretary determines in writing on or before the last day of such
period that the imminent hazard still exists.

(6) Judicial review of orders.--

   (A) In general.--After completion of the review process described in
   paragraph (4), or the issuance of a written determination by the Secretary
   pursuant to paragraph (5), an entity subject to, and aggrieved by, an emergency
   order issued under this subsection may seek judicial review of the order in a
   district court of the United States and shall be given expedited consideration.

   (B) Limitation.--The filing of a petition for review under subparagraph (A)
   shall not stay or modify the force and effect of the agency's final decision
   under paragraph (4), or the written determination under paragraph (5), unless
   stayed or modified by the Secretary.

(7) Regulations.--

   (A) Temporary regulations.--Not later than 60 days after the date of
   enactment of the PIPES Act of 2016, the Secretary shall issue such temporary
   regulations as are necessary to carry out this subsection. The temporary
   regulations shall expire on the date of issuance of the final regulations required
   under subparagraph (B).

   (B) Final regulations.--Not later than 270 days after such date of enactment,
   the Secretary shall issue such regulations as are necessary to carry out this
   subsection. Such regulations shall ensure that the review process described in
   paragraph (4) contains the same procedures as subsections (d) and (g) of
   section 109.19 of title 49, Code of Federal Regulations, and is otherwise

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   consistent with the review process developed under such section, to the
   greatest extent practicable and not inconsistent with this section.

(8) Imminent hazard defined.--In this subsection, the term “imminent hazard”
means the existence of a condition relating to a gas or hazardous liquid pipeline
facility that presents a substantial likelihood that death, serious illness, severe
personal injury, or a substantial endangerment to health, property, or the
environment may occur before the reasonably foreseeable completion date of a
formal proceeding begun to lessen the risk of such death, illness, injury, or
endangerment.

(9) Limitation and savings clause.--An emergency order issued under this
subsection may not be construed to--

   (A) alter, amend, or limit the Secretary's obligations under, or the applicability
   of, section 553 of title 5; or

   (B) provide the authority to amend the Code of Federal Regulations.




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                                     49 U.S.C. §60120

§60120. Enforcement

   (a) Civil actions

      (1) Civil actions to enforce this chapter.--At the request of the Secretary of
      Transportation, the Attorney General may bring a civil action in an appropriate
      district court of the United States to enforce this chapter, including section 60112,
      or a regulation prescribed or order issued under this chapter. The court may award
      appropriate relief, including a temporary or permanent injunction, punitive
      damages, and assessment of civil penalties, considering the same factors as
      prescribed for the Secretary in an administrative case under section 60122. The
      maximum amount of civil penalties for administrative enforcement actions under
      section 60122 shall not apply to enforcement actions under this section.

      (2) Civil actions to require compliance with subpoenas or allow for
      inspections.--At the request of the Secretary, the Attorney General may bring a
      civil action in a district court of the United States to require a person to comply
      immediately with a subpena or to allow an officer, employee, or agent authorized
      by the Secretary to enter the premises, and inspect the records and property, of the
      person to decide whether the person is complying with this chapter. The action
      may be brought in the judicial district in which the defendant resides, is found, or
      does business. The court may punish a failure to obey the order as a contempt of
      court.

   (b) Jury trial demand.--In a trial for criminal contempt for violating an injunction
   issued under this section, the violation of which is also a violation of this chapter, the
   defendant may demand a jury trial. The defendant shall be tried as provided in rule
   42(b) of the Federal Rules of Criminal Procedure (18 App. U.S.C.).

   (c) Effect on tort liability.--This chapter does not affect the tort liability of any
   person.




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                                     49 U.S.C. §60121

§60121. Actions by private persons

   (a) General authority.—

      (1) A person may bring a civil action in an appropriate district court of the United
      States for an injunction against another person (including the United States
      Government and other governmental authorities to the extent permitted under the
      11th amendment to the Constitution) for a violation of this chapter or a regulation
      prescribed or order issued under this chapter. However, the person--

          (A) may bring the action only after 60 days after the person has given notice of
          the violation to the Secretary of Transportation or to the appropriate State
          authority (when the violation is alleged to have occurred in a State certified
          under section 60105 of this title) and to the person alleged to have committed
          the violation;

          (B) may not bring the action if the Secretary or authority has begun and
          diligently is pursuing an administrative proceeding for the violation; and

          (C) may not bring the action if the Attorney General of the United States, or
          the chief law enforcement officer of a State, has begun and diligently is
          pursuing a judicial proceeding for the violation.

      (2) The Secretary shall prescribe the way in which notice is given under this
      subsection.

      (3) The Secretary, with the approval of the Attorney General, or the Attorney
      General may intervene in an action under paragraph (1) of this subsection.

   (b) Costs and fees.--The court may award costs, reasonable expert witness fees, and a
   reasonable attorney's fee to a prevailing plaintiff in a civil action under this section.
   The court may award costs to a prevailing defendant when the action is unreasonable,
   frivolous, or meritless. In this subsection, a reasonable attorney's fee is a fee--

      (1) based on the actual time spent and the reasonable expenses of the attorney for
      legal services provided to a person under this section; and

      (2) computed at the rate prevailing for providing similar services for actions
      brought in the court awarding the fee.

   (c) State violations as violations of this chapter.--In this section, a violation of a
   safety standard or practice of a State is deemed to be a violation of this chapter or a
   regulation prescribed or order issued under this chapter only to the extent the standard


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or practice is not more stringent than a comparable minimum safety standard
prescribed under this chapter.

(d) Additional remedies.--A remedy under this section is in addition to any other
remedies provided by law. This section does not restrict a right to relief that a person
or a class of persons may have under another law or at common law.




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                              25 C.F.R. §169.3 (2013)

§169.3 Consent of landowners to grants of right-of-way.

   (a) No right-of-way shall be granted over and across any tribal land, nor shall
   any permission to survey be issued with respect to any such lands, without
   the prior written consent of the tribe.

   (b) Except as provided in paragraph (c) of this section, no right-of-way shall
   be granted over and across any individually owned lands, nor shall any per-
   mission to survey be issued with respect to any such lands, without the prior
   written consent of the owner or owners of such lands and the approval of the
   Secretary.

   (c) The Secretary may issue permission to survey with respect to, and he may
   grant rights-of-way over and across individually owned lands without the
   consent of the individual Indian owners when

      (1) The individual owner of the land or of an interest therein is a minor or
      a person non compos mentis, and the Secretary finds that such grant will
      cause no substantial injury to the land or the owner, which cannot be
      adequately compensated for by monetary damages;

      (2) The land is owned by more than one person, and the owners or owner
      of a majority of the interests therein consent to the grant;

      (3) The whereabouts of the owner of the land or an interest therein are un-
      known, and the owners or owner of any interests therein whose
      whereabouts are known, or a majority thereof, consent to the grant;

      (4) The heirs or devisees of a deceased owner of the land or an interest
      therein have not been determined, and the Secretary finds that the grant
      will cause no substantial injury to the land or any owner thereof;

      (5) The owners of interests in the land are so numerous that the Secretary
      finds it would be impracticable to obtain their consent, and also finds that
      the grant will cause no substantial injury to the land or any owner thereof.




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                             25 C.F.R. §169.12 (2013)

§169.12 Consideration for right-of-way grants.

Except when waived in writing by the landowners or their representatives as
defined in §169.3 and approved by the Secretary, the consideration for any right-
of-way granted or renewed under this part 169 shall be not less than but not
limited to the fair market value of the rights granted, plus severance damages, if
any, to the remaining estate. The Secretary shall obtain and advise the
landowners of the appraisal information to assist them (the landowner or
landowners) in negotiations for a right-of-way or renewal.




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                             25 C.F.R. §169.19 (2013)

§169.19 Renewal of right-of-way grants.

On or before the expiration date of any right-of-way heretofore or here- after
granted for a limited term of years, an application may be submitted for a
renewal of the grant. If the renewal involves no change in the location or status
of the original right-of-way grant, the applicant may file with his application a
certificate under oath setting out this fact, and the Secretary, with the consent
required by §169.3, may thereupon extend the grant for a like term of years, upon
the payment of consideration as set forth in §169.12. If any change in the size,
type, or location of the right-of-way is in- volved, the application for renewal
shall be treated and handled as in the case of an original application for a right-
of-way.




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                             25 C.F.R. §169.15 (1992)

§169.15 Action on application.

Upon satisfactory compliance with the regulations in this part 169, the Secretary
is authorized to grant the right-of-way by issuance of a conveyance instrument in
the form approved by the Secretary. Such instrument shall incorporate all
conditions or restrictions set out in the consents obtained pursuant to § 169.3. A
copy of such instrument shall be promptly delivered to the applicant and
thereafter the applicant may proceed with the construction work. Maps of
definite location may be attached to and incorporated into the conveyance
document by reference. In the discretion of the Secretary, one conveyance
document may be issued covering all of the tracts of land traversed by the right-
of-way, or separate conveyances may be made covering one or several tracts
included in the application. A duplicate original copy of the conveyance
instrument, permanent and reproducible maps, a copy of the application and
stipulations, together with any other pertinent documents shall be transmitted by
the Secretary to the office of record for land documents affecting the land
covered by the right-of-way, where they will be recorded and filed.




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